 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                   Page 1 of 98 PageID 1

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MICHAEL SCOTT,                                   §
                                                 §
      Plaintiff,                                 §
                                                 §
                                                 §
                                                 §
                                                 §
vs.                                              §                 CIVIL ACTION NO. ____
                                                 §
AMAZON, AMAZON.COM,                              §
AMAZON, INC., AMAZON FLEX,                       §
AMAZON KYDC FLEX,                                §
AMAZON.COM.KYDC, LLC,                            §
AMAZON.COM SERVICES, INC.,                       §
AMAZON.COM SERVICES, LLC,                        §
ELITE AIR, LLC, and TRAVISANO                    §
CONSTRUCTION, LLC,                               §
                                                 §
      Defendants                                 §


                              NOTICE OF
                        REMOVAL OF CIVIL ACTION
          Defendants Amazon, Amazon.com, Amazon, Inc., Amazon Flex, Amazon Kydc

Flex, Amazon.com.kydc, LLC, Amazon.com Services, Inc., and Amazon.com Services,

LLC (collectively “Amazon”) file this Notice of Removal under 28 U.S.C. §§ 1332(a),

1441, and 1446(a).


                                               I.
                                   INTRODUCTION
          1.       The civil action being removed was initiated in the 191st Judicial District

Court of Dallas County, Texas, on June 19, 2020, and was assigned docket number DC-

20-08491. A copy of the Plaintiff’s Original Petition is attached as part of Exhibit (3).



NOTICE OF REMOVAL OF CIVIL ACTION                                                      PAGE 1

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                 Page 2 of 98 PageID 2

         2.    This action is a personal injury case arising from an incident that occurred

on June 21, 2018, while Plaintiff was installing HVAC units at 12401 N. Stemmons

Freeway, Suite 100, Farmers Branch, Dallas County, Texas.


                                  II.
                          BASIS FOR REMOVAL
         3.    Removal is proper based on diversity of citizenship, because the amount in

controversy in this case exceeds the sum or value of $75,000, exclusive of interest and

costs, and complete diversity of citizenship exists. 28 U.S.C. § 1332(a).

A. Amount in Controversy is Greater than $75,000

         4.    In his Original Petition, Plaintiff specifies that “he seeks monetary relief of

over $200,000 but not more than $1,000,000.” See Ex. 3, Plaintiff’s Original Petition and

Request for Disclosures, p. 1.

         5.    Therefore, the amount in controversy in this case exceeds the sum of

$75,000. See 28 U.S.C. § 1332(a) and 28 U.S.C. § 1446(c)(2).

B. Complete Diversity Exists between the Parties

         6.    In his Original Petition, the Plaintiff identifies himself as “an Individual

residing in Texas.” See Ex. 3, Plaintiff’s Original Petition and Request for Disclosures, p.

2. Additionally, upon information and belief, Plaintiff has resided in Texas for many

years and maintains a Texas driver’s license. For these reasons, Plaintiff is a citizen of

Texas.

         7.    Defendant Amazon.com Services, Inc. was a Delaware corporation with

its principal place of business in Washington, and therefore was a citizen of Delaware

and Washington. Amazon.com Services, Inc. was, however, recently converted to

Amazon.com Services, LLC. For diversity purposes, citizenship of a limited liability


NOTICE OF REMOVAL OF CIVIL ACTION                                                      PAGE 2

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                Page 3 of 98 PageID 3

company is “determined by the citizenship of all of its members.” Harvey v. Grey Wolf

Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). The sole member of Amazon.com

Services, LLC is Amazon.com Sales, Inc. Amazon.com Sales, Inc. was incorporated in

Delaware and has its principal place of business in Washington. Amazon.com Sales, Inc.

is, therefore, a citizen of both Delaware and Washington. Defendant is not a citizen of

Texas.

         8.    Defendant Amazon.com.kydc LLC merged into Amazon.com Services,

Inc., which recently converted to Amazon.com Services, LLC. As discussed above, the

sole member of Amazon.com Services, LLC is Amazon.com Sales, Inc. Amazon.com

Sales, Inc. was incorporated in Delaware and has its principal place of business in

Washington. Amazon.com Sales, Inc. is, therefore, a citizen of both Delaware and

Washington. Defendant is not a citizen of Texas.

         9.    Defendants Amazon, Amazon.com, Amazon Flex, and Amazon KYDC

Flex are not incorporated entities, but are assumed names utilized by Amazon.com

Services, LLC, or by entities that merged into Amazon.com Services, Inc. and converted

into Amazon.com Services, LLC. Under Section 1441, “the citizenship of defendants

sued under fictitious names shall be disregarded” when evaluating diversity of

citizenship. 28 U.S.C. § 1441(b)(1). Therefore, the citizenship of these fictitious entities

is irrelevant to the determination of whether complete diversity exists in this case.

Alternatively, as discussed above, the sole member of Amazon.com Services, LLC is

Amazon.com Sales, Inc. Amazon.com Sales, Inc. was incorporated in Delaware and has

its principal place of business in Washington. Amazon.com Sales, Inc. is, therefore, a

citizen of both Delaware and Washington, and Amazon, Amazon.com, Amazon Flex, and

Amazon KYDC Flex are not citizens of Texas.


NOTICE OF REMOVAL OF CIVIL ACTION                                                    PAGE 3

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                Page 4 of 98 PageID 4

         10.    Defendant Amazon, Inc. is a Nevada corporation with its principal place

of business in Washington. A corporation is deemed to be a citizen of each state in which

it is incorporated and of each state where it has its principal place of business. 28 U.S.C.

§ 1332(c)(1). Therefore, Amazon, Inc. is a citizen of Nevada and Washington.

Defendant is not a citizen of Texas.

         11.    The sole member of Elite Air, LLC is Martin J. Joyce, who is domiciled in

Ohio; therefore, Defendant Elite Air, LLC is a citizen of Ohio. Elite Air, LLC is not a

citizen of Texas.

         12.    The only members of Travisano Construction, LLC are Jacqueline

Travisano, Peter Travisano, and Steven T. Richards. Each of these individuals is

domiciled in Florida; therefore, Defendant Travisano Construction, LLC is a citizen of

Florida. Travisano Construction, LLC is not a citizen of Texas.

         13.    Because Plaintiff is a citizen of Texas, and none of the Defendants are

citizens of Texas, complete diversity of citizenship exists, and removal is proper.


                        III.
        COMPLIANCE WITH REMOVAL PROCEDURES
A. Venue of Removed Action

         14.    This Notice of Removal is properly filed in the United States District

Court for the Northern District of Texas, Dallas Division, under 28 U.S.C. § 1441(a),

because the 191st Judicial District Court of Dallas County, Texas, is located in this

district and division.

B. Service of Complaint

         15.    This Notice of Removal has been filed within the 30-day time period

required by 28 U.S.C. § 1446(b). All Defendants were served on June 25, 2020, June 26,


NOTICE OF REMOVAL OF CIVIL ACTION                                                     PAGE 4

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                  Page 5 of 98 PageID 5

2020, or June 29, 2020. See Ex. (3). This Notice of Removal has been filed within 30

days from the earliest of these service dates – June 25, 2020.

C. Consent, Notice to Other Parties and Notice to State Court

         16.   All properly joined and served defendants consent to the removal of this

action as required under 28 U.S.C. § 1446(b)(2)(A).

         17.   Written notice of the filing of this Notice of Removal has been given to all

adverse parties in accordance with 28 U.S.C. § 1446(d), and is noted in the Certificate of

Service attached hereto.

         18.   Further, Amazon Defendants will promptly give written notice and file a

copy of this Notice of Removal with the clerk of the Dallas County Court and on all

counsel of record pursuant to 28 U.S.C. § 1446(d).

D. Pleadings in the State Court Action

         19.   In accordance with 28 U.S.C. § 1446(a) and Local Rule 81.1, attached to

this Notice of Removal are:

               (1) An index of all documents filed in the state court;

               (2) The state court docket sheet;

               (3) A copy of each document filed in the state court; and

               (4) A separately signed Certificate of Interested Persons.

         20.   Amazon Defendants filed an Original Answer in the state court action. A

true and accurate copy of this answer is included with Exhibit 3, which is incorporated

herein by reference.

         21.   Additionally, this Notice of Removal is accompanied by a Civil Cover

Sheet and a Supplemental Civil Cover Sheet as required under Local Rule 81.1.




NOTICE OF REMOVAL OF CIVIL ACTION                                                   PAGE 5

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20              Page 6 of 98 PageID 6


                                          IV.
                                      PRAYER
         For these reasons, diversity jurisdiction under 28 U.S.C. § 1332(a) exists, and

removal to the United States District Court for the Northern District of Texas, Dallas

Division, is proper under 28 U.S.C. § 1441(b).



                                            Respectfully Submitted,

                                            THE BASSETT FIRM

                                            /s/ Mike H. Bassett

                                            MIKE H. BASSETT
                                            SBN: 01890500
                                            ROBERT L. MCGEE, JR.
                                            SBN: 13620720
                                            Two Turtle Creek Village
                                            3838 Oak Lawn Avenue, Suite 1300
                                            Dallas, Texas 75219
                                            (214) 219-9900 Telephone
                                            (214) 219-9456 Facsimile
                                            efile@thebassettfirm.com

                                            ATTORNEY FOR AMAZON
                                            DEFENDANTS




NOTICE OF REMOVAL OF CIVIL ACTION                                                PAGE 6

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                Page 7 of 98 PageID 7




                       CERTIFICATE OF SERVICE
         I certify that a true copy of this document was forwarded to the following counsel

of record on this 20th day of July, 2020, pursuant to the Texas Rules of Civil Procedure

and the Federal Rules of Civil Procedure:

Via eFile Texas eServe
Mr. Wm. Randell Johnson
Law Office of Wm. Randell Johnson
P.O. Box 260080
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Telephone: (972) 769-7200
Facsimile: (972) 758-9783
wrjlaw@aol.com

Via eFile Texas eServe
Mr. Stewart D. Matthews
1905 W. Ennis Avenue, Suite 506
Ennis, Texas 75119
Telephone: (972) 398-6666
Facsimile: (214) 206-9991
attorney@accidentlawyer.legal

                                              /s/ Mike H. Bassett

                                              MIKE H. BASSETT
                                              ROBERT L. MCGEE, JR.




NOTICE OF REMOVAL OF CIVIL ACTION                                                   PAGE 7

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20   Page 8 of 98 PageID 8




                  EXHIBIT 1




NOTICE OF REMOVAL OF CIVIL ACTION                                 PAGE 8

143521272.2
 Case 3:20-cv-01909-C Document 1 Filed 07/20/20        Page 9 of 98 PageID 9

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MICHAEL SCOTT,                                §
                                              §
      Plaintiff,                              §
                                              §
                                              §
                                              §
                                              §
vs.                                           §        CIVIL ACTION NO. ____
                                              §
AMAZON, AMAZON.COM,                           §
AMAZON, INC., AMAZON FLEX,                    §
AMAZON KYDC FLEX,                             §
AMAZON.COM.KYDC, LLC,                         §
AMAZON.COM SERVICES, INC.,                    §
AMAZON.COM SERVICES, LLC,                     §
ELITE AIR, LLC, and TRAVISANO                 §
CONSTRUCTION, LLC,                            §
                                              §
      Defendants                              §


                        INDEX OF
            ALL DOCUMENTS FILED IN STATE COURT
          1. Plaintiff’s Original Petition;

          2. Jury Demand;

          3. Request for Service;

          4. Citation – Amazon;

          5. Citation – Amazon.com;

          6. Citation – Amazon Inc.;

          7. Citation – Amazon Flex;

          8. Citation – Amazon KYDC Flex;

          9. Citation – Elite Air LLC;

          10. Citation – Travisano Construction LLC;
Case 3:20-cv-01909-C Document 1 Filed 07/20/20          Page 10 of 98 PageID 10

      11. Return – Travisano Construction LLC;

      12. Return – Elite Air LLC;

      13. Return – Amazon Inc.;

      14. Citation – Amazon.com Services Inc.;

      15. Citation – Amazon.com Services LLC;

      16. Citation – Amazon.com.kydc LLC;

      17. Return – Amazon.com.kydc LLC;

      18. Return – Amazon.com Services Inc.;

      19. Return – Amazon.com Services LLC;

      20. Return – Amazon;

      21. Return – Amazon.com;

      22. Return – Amazon Flex;

      23. Return – Amazon KYDC Flex;

      24. Defendant Amazon’s Original Answer; and

      25. Defendant Travisano Construction’s Original Answer.
Case 3:20-cv-01909-C Document 1 Filed 07/20/20   Page 11 of 98 PageID 11




                  EXHIBIT 2




NOTICE OF REMOVAL OF CIVIL ACTION                                 PAGE 9

143521272.2
7/17/2020                                                                 Details
               Case 3:20-cv-01909-C Document 1 Filed 07/20/20                       Page 12 of 98 PageID 12




            Case Information

            DC-20-08491 | MICHAEL SCOTT vs. AMAZON, et al

            Case Number                             Court                             Judicial Officer
            DC-20-08491                             191st District Court              SLAUGHTER, GENA
            File Date                               Case Type                         Case Status
            06/19/2020                              OTHER PERSONAL INJURY             OPEN




            Party

            PLAINTIFF                                                                 Active Attorneys 
            SCOTT, MICHAEL                                                            Lead Attorney
                                                                                      JOHNSON, WM RANDELL
                                                                                      Retained




            DEFENDANT                                                                 Active Attorneys 
            AMAZON                                                                    Lead Attorney
                                                                                      MCGEE, ROBERT L, Jr.
            Address
                                                                                      Retained
            12401 N STEMMONS FREEWAY SUITE 100
            FARMERS BRANCH TX 75234




            DEFENDANT                                                                 Active Attorneys 
            AMAZON.COM                                                                Lead Attorney
                                                                                      MCGEE, ROBERT L, Jr.
            Address
            12401 N STEMMONS FREEWAY SUITE 100                                        Retained
            FARMERS BRANCH TX 75234




            DEFENDANT                                                                 Active Attorneys 
            AMAZON, INC.                                                              Lead Attorney
            Address                                                                   MCGEE, ROBERT L, Jr.

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                       1/9
7/17/2020                                                                 Details
              Case
            12401    3:20-cv-01909-C
                  N STEMMONS           Document
                              FREEWAY SUITE 100 1 Filed 07/20/20                    Page 13 of 98 PageID 13
                                                                                      Retained
            FARMERS BRANCH TX 75234




            DEFENDANT                                                                 Active Attorneys 
            AMAZON FLEX                                                               Lead Attorney
                                                                                      MCGEE, ROBERT L, Jr.
            Address
            12401 N STEMMONS FREEWAY SUITE 100                                        Retained
            FARMERS BRANCH TX 75234




            DEFENDANT                                                                 Active Attorneys 
            AMAZON KYDC FLEX                                                          Lead Attorney
            Address                                                                   MCGEE, ROBERT L, Jr.
                                                                                      Retained
            12401 N STEMMONS FREEWAY SUITE 100
            FARMERS BRANCH TX 75234




            DEFENDANT                                                                 Active Attorneys 
            AMZON.COM.KYDC,LLC                                                        Lead Attorney
            Address                                                                   MCGEE, ROBERT L, Jr.
            REGISTERED AGENT CORPORATION SERVICE COMPANY                              Retained
            211 E 7TH STREET SUITE 620
            AUSTIN TX 78701




            DEFENDANT                                                                 Active Attorneys 
            AMAZON.COM SERVICES, INC.                                                 Lead Attorney
            Address                                                                   MCGEE, ROBERT L, Jr.
            REGISTERED AGENT CORPORATION SERVICE COMPANY                              Retained
            211 E 7TH STREET SUITE 620
            AUSTIN TX 78701




            DEFENDANT                                                                 Active Attorneys 
            AMAZON.COM SERVICES, LLC                                                  Lead Attorney
            Address                                                                   MCGEE, ROBERT L, Jr.
            REGISTERED AGENT CORPORATION SERVICE COMPANY                              Retained
            211 E 7TH STREET SUITE 620
            AUSTIN TX 78701




            DEFENDANT
            ELITE AIR, LLC

            Address
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                       2/9
7/17/2020                                                                 Details
              Case 3:20-cv-01909-C
            REGISTERED                Document
                       AGENT EILEEN M JOYCE ESQ 1 Filed 07/20/20                    Page 14 of 98 PageID 14
            2500 BROOKPARK ROAD
            CLEAVELAND OH 44134




            DEFENDANT                                                                 Active Attorneys 
            TRAVISANO CONSTRUCTION, LLC                                               Lead Attorney
                                                                                      KNOTT, DANIEL ALDEN
            Address
            REGISTERED AGENT BUSINESS FILINGS INCORPORATED                            Retained
            701 BRAZOS STREET SUITE 720
            AUSTIN TX 78701




            Events and Hearings


               06/19/2020 NEW CASE FILED (OCA) - CIVIL


               06/19/2020 ORIGINAL PETITION 


               ORIGINAL PETITION


               06/19/2020 ISSUE CITATION 


               ISSUE CITATION- AMAZON

               ISSUE CITATION- AMAZON.COM

               ISSUE CITATION- AMAZON INC.

               ISSUE CITATION- AMAZON FLEX

               ISSUE CITATION- AMAZON KYDC FLEX

               ISSUE CITATION- ELITE AIR LLC

               ISSUE CITATION- TRAVISANO CONSTRUCTION LLC


               06/19/2020 JURY DEMAND 


               JURY DEMAND FORM


               06/19/2020 REQUEST FOR SERVICE 


               REQUEST


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                       3/9
7/17/2020                                                                 Details
               Case 3:20-cv-01909-C Document 1 Filed 07/20/20                       Page 15 of 98 PageID 15
               06/22/2020 CITATION 


               Served
               06/29/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

               Returned
               07/01/2020
               Comment
               AMAZON 9214 8901 0661 5400 0152 0654 89


               06/22/2020 CITATION 


               Served
               06/29/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

               Returned
               07/01/2020
               Comment
               AMAZON.COM 9214 8901 0661 5400 0152 0655 40


               06/22/2020 CITATION 


               Served
               06/25/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

               Returned
               06/29/2020
               Comment
               AMAZON INC. 9214 8901 0661 5400 0152 0655 71


               06/22/2020 CITATION 


               Served
               06/29/2020

               Anticipated Server
               CERTIFIED MAIL


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7/17/2020                                                                 Details
               Case   3:20-cv-01909-C
               Anticipated Method     Document 1 Filed 07/20/20                     Page 16 of 98 PageID 16
               Actual Server
               CERTIFIED MAIL

               Returned
               07/01/2020
               Comment
               AMAZON FLEX 9214 8901 0661 5400 0152 0656 32


               06/22/2020 CITATION 


               Served
               06/29/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

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               07/01/2020
               Comment
               AMAZON KYDC FLEX 9214 8901 0661 5400 0152 0657 48


               06/23/2020 CITATION 


               Served
               06/26/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

               Returned
               06/29/2020
               Comment
               AMAZON.COM.KYDC LLC 9214 8901 0661 5400 0152 0733 78


               06/23/2020 CITATION 


               Unserved

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Served
               06/26/2020

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               Anticipated Method
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7/17/2020                                                                 Details
               Case  3:20-cv-01909-C Document 1 Filed 07/20/20
               Returned                                                             Page 17 of 98 PageID 17
               06/29/2020
               Comment
               AMAZON.COM SERVICES INC 9214 8901 0661 5400 0152 0734 22


               06/23/2020 CITATION 


               Served
               06/26/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

               Returned
               06/29/2020
               Comment
               AMAZON.COM SERVICES LLC 9214 8901 0661 5400 0152 0734 91


               06/23/2020 CITATION 


               Served
               06/26/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

               Returned
               06/29/2020
               Comment
               ELITE AIR LLC 9214 8901 0661 5400 0152 0736 68


               06/23/2020 CITATION 


               Served
               06/26/2020

               Anticipated Server
               CERTIFIED MAIL

               Anticipated Method
               Actual Server
               CERTIFIED MAIL

               Returned
               06/29/2020
               Comment
               TRAVISANO CONSTRUCTION LLC 9214 8901 0661 5400 0152 0737 74


               06/29/2020 RETURN OF SERVICE 



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                       6/9
7/17/2020                                                                 Details
               Case 3:20-cv-01909-C
               RETURN                  Document
                      OF SERVICE-TRAVISAO        1 Filed
                                          CONSTRUCTION LLC07/20/20                  Page 18 of 98 PageID 18
                  Comment
                  EXECUTED- CITATION- TRAVISANO CONSTRUCTION LLC


               06/29/2020 RETURN OF SERVICE 


               RETURN OF SERVICE- ELITE AIR LLC

                  Comment
                  EXECUTED- CITATION- ELITE AIR LLC


               06/29/2020 RETURN OF SERVICE 


               RETURN OF SERVICE- AMAZON.COM SERVICES LLC

                  Comment
                  EXECUTED- CITATION- AMAZON.COM SERVICES LLC


               06/29/2020 RETURN OF SERVICE 


               RETURN OF SERVICE- AMAZON.COM SERVICES INC

                  Comment
                  EXECUTED- CITATION- AMAZON.COM SERVICES INC


               06/29/2020 RETURN OF SERVICE 


               RETURN OF SERVICE- AMAZON.COM.KYDC LLC

                  Comment
                  EXECUTED- AMAZON.COM.KYDC LLC


               06/29/2020 RETURN OF SERVICE 


               RETURN OF SERVICE- AMAZON INC.

                  Comment
                  EXECUTED- AMAZON INC.


               07/01/2020 RETURN OF SERVICE 


               RETURN OF SERVICE- AMAZON

                  Comment
                  EXECUTED- CITATION- AMAZON


               07/01/2020 RETURN OF SERVICE 


               RETURN OF SERVICE-AMAZON.COM

                  Comment
                  EXECUTED- CITATION- AMAZON.COM


               07/01/2020 RETURN OF SERVICE 

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7/17/2020                                                                 Details
               Case 3:20-cv-01909-C
               RETURN                 Document
                      OF SERVICE- AMAZON FLEX  1 Filed 07/20/20                     Page 19 of 98 PageID 19
                  Comment
                  EXECUTED- CITATION- AMAZON FLEX


               07/01/2020 RETURN OF SERVICE 


               RETURN OF SERVICE- AMAZON KYDC FLEX

                  Comment
                  EXECUTED- CITATION- AMAZON KYDC FLEX


               07/14/2020 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER - AMAZON.COM


               07/15/2020 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER




            Financial

            SCOTT, MICHAEL
                   Total Financial Assessment                                                        $1,262.00
                   Total Payments and Credits                                                        $1,262.00


              6/19/2020      Transaction Assessment                                                 $1,262.00

              6/19/2020      CREDIT CARD - TEXFILE          Receipt # 35944-2020-     SCOTT,      ($1,262.00)
                             (DC)                           DCLK                      MICHAEL




            Documents


               ORIGINAL PETITION
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                          8/9
7/17/2020                                                                 Details
               Case 3:20-cv-01909-C
               JURY DEMAND FORM     Document 1 Filed 07/20/20                       Page 20 of 98 PageID 20
               REQUEST
               ISSUE CITATION- AMAZON

               ISSUE CITATION- AMAZON.COM
               ISSUE CITATION- AMAZON INC.
               ISSUE CITATION- AMAZON FLEX
               ISSUE CITATION- AMAZON KYDC FLEX

               ISSUE CITATION- ELITE AIR LLC
               ISSUE CITATION- TRAVISANO CONSTRUCTION LLC
               RETURN OF SERVICE-TRAVISAO CONSTRUCTION LLC

               RETURN OF SERVICE- ELITE AIR LLC
               RETURN OF SERVICE- AMAZON INC.
               Copy of ISSUE CITATION- AMAZON.COM SERVICES INC
               Copy of ISSUE CITATION- AMAZON.COM SERVICES LLC

               Copy of ISSUE CITATION- AMAZON.COM..KYDC LLC
               RETURN OF SERVICE- AMAZON.COM.KYDC LLC
               RETURN OF SERVICE- AMAZON.COM SERVICES INC

               RETURN OF SERVICE- AMAZON.COM SERVICES LLC
               RETURN OF SERVICE- AMAZON
               RETURN OF SERVICE-AMAZON.COM
               RETURN OF SERVICE- AMAZON FLEX

               RETURN OF SERVICE- AMAZON KYDC FLEX
               ORIGINAL ANSWER - AMAZON.COM
               ORIGINAL ANSWER




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Case 3:20-cv-01909-C Document 1 Filed 07/20/20   Page 21 of 98 PageID 21




                  EXHIBIT 3




NOTICE OF REMOVAL OF CIVIL ACTION                                PAGE 10

143521272.2
                                                                                                                                              FILED
10   £CIT CERT MAIL / JURY                                                                                                      6/19/2020 10:59   AM
                                                                                                                                    FEUCIA PITRE
            Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                Page 22 of 98 PageID 22                DISTRICT CLERK
                                                                                                                           DALLAS      CO.,TEXAS
                                                                                                                           Angie Avina    DEPUTY


                                                        DC-20-08491
                                                  NO.

      MICHAEL SCOTT                                                                          IN   THE DISTRICT COURT
      VS.


      AMAZON,
      AMAZON.COM,                                                                        191 ST
      AMAZON, INC.,                                                                                JUDICIAL DISTRICT
      AMAZON FLEX,                                        mmmmmwmmmmmmmm




      AMAZON KYDC FLEX,
      AMAZON.COMKYDC, LLC,
      AMAZON.COM SERVICES, INC.,
      AMAZON.COM SERVICES, LLC,
      ELITE AIR, LLC; and
      TRAVISANO CONSTRUCTION, LLC                                                            DALLAS COUNTY, TEXAS

                                     PLAINTIFF'S ORIGINAL PETITION
                                    AND REQUEST FOR DISCLOSURES
      TO THE HONORABLE JUDGE OF SAID COURT:
               NOW COMES         the Plaintiff,   MICHAEL SCOTT,                            complaining 0f and about the

      Defendants,    AMAZON, AMAZON.COM, AMAZON,                                    INC.,   AMAZON      FLEX,     AMAZON
      KYDC       FLEX, AMAZON.COM.KYDC, LLC,                                     AMAZON.COM           SERVICES,        INC.,

      AMAZON.COM SERVICES, LLC, ELITE AIR, LLC, and TRAVISANO CONSTRUCTION,
      LLC, and    for cause 0f action against   them shows                 as follows:


                                           I.   RULE 47 STATEMENT
               Pursuant t0 Texas Rule 0f Civil Procedure 47, the damages sought by Plaintiff in this case

      are within the jurisdictional limits of the Court. For purposes of Rule 47, Plaintiff states that at the


      time of ﬁling of    this lawsuit   he seeks monetary relief 0f over $200,000 but not more than

      $ 1 ,000,000. However, Plaintiffreserves the right t0                amend this petition, including the foregoing Rule

      47 statement, as the case continues and     t0 assert            damages more 0r       less than the   amount currently

      pleaded.




                                         PLAINTIFF’S ORIGINAL PETITION
                                         AND REQUEST FOR DISCLOSURES
                                                        Page               1
    Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                           Page 23 of 98 PageID 23




                                    II.   DISCOVERY CONTROL PLAN LEVEL
          Discovery        is   intended t0 be conducted under Level Three pursuant to the applicable

provisi0n(s) of the Texas Rules of Civil Procedure.

                                                III.   PARTIES AND SERVICE
          PlaintiffMICHAEL SCOTT is an Individual residing in Texas. Pursuant t0 TEX. CIV. REM.

& PRAC. CODE, §30.014(a), the last three numbers ofPlaintiff’ s driver’s license and Social Security
numbers     are    083 and 523, respectively.

          “AMAZON,” “AMAZON.COM,” “AMAZON,                                             INC.,”     “AMAZON              FLEX,” and

“AMAZON KYDC FLEX,”                            hereinafter referred t0 collectively as           AMAZON unless otherwise
indicated    by        context,    are each an         assumed 0r common name under Which a partnership,

unincorporated association, private corporation, limited liability company, 0r individual was/is doing

business    at,   on and/or       in connection with         Amazon’s Dallas           area Distribution Center at12401 N.

Stemmons Freeway,                 Suite   100, Farmers Branch, Texas in 0r about June 2018.1 Defendant

AMAZON            is   hereby sued in     its   assumed or common names pursuant t0 the provisions 0f Rule 28

0f the Texas Rules of Civil Procedure and                        may be       served with process by and through their

manager/distribution center at12401 N.                      Stemmons Freeway,              Suite 100, Farmers Branch, Texas.


Service of said Defendant can be effected by personal service and/or Via certiﬁed mail, return receipt

requested?



          lDallas      County Appraisal         District   Records    show   that   this   property   was   at   the   time   owned by
AMAZON.COMKYDC, LLC         AMAZON FLEX and that the property is currently owned by AMAZON.COM
                                       d/b/a
SERVICES, INC. d/b/a AMAZON KYDC FLEX. Records 0n ﬁle With the Texas Secretary 0f State reﬂect that
AMAZON.COMKYDC, LLC merged With and into AMAZON.COM SERVICES, INC. and that the latter was the
parent   company 0f AMAZON.COM.KYDC, LLC                     at the   time of Plaintiff SCOTT's injury 0n or about June 21, 2018.
AMAZON.COM SERVICES, INC., subsequently merged with and/or converted t0 AMAZON.COM SERVICES, LLC.
          2AMAZON, as used herein individually and collectively, refers t0 and includes all partnerships, unincorporated
associations, private corporations, limited liability        companies and/or individuals operating under said assumed name
and/or a similar assumed        name   (including but not limited t0      “AMAZON,” “AMAZON.COM,” “AMAZON, INC,”
“AMAZON FLEX,” and “AMAZON KYDC FLEX,”) Who leased, maintained, operated, owned, provided, supervised
and/or otherwise exercised control and/or direction over Amazon’ s Dallas area Distribution Center at 1 2401 N. Stemmons
Freeway, Suite 100, Farmers Branch, Texas in or about June 2018 and/or the project/location on/at which Plaintiff
SCOTT was injured 0n 0r about June 21, 2018.

                                               PLAINTIFF’S ORIGINAL PETITION
                                               AND REQUEST FOR DISCLOSURES
                                                                 Page 2
   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                         Page 24 of 98 PageID 24




          AMAZON.COM.KYDC, LLC,                          is   a foreign limited liability         company doing business                  in


Texas and    may be     served With process by and through                   its   registered agent for service, Corporation


Service   Company dba CSC — Lawyers                   Incorporating Service           Company 211         E.   7th
                                                                                                                     Street, Suite       620

Austin,   TX 7870   1   -32 1 8   USA and/or its Governing Person/President, Michael D. Deal, at 4                             1   O Terry

Avenue North,     Seattle,       WA 98   1   O9.   Service of said Defendant can be effected personally and/or by

certiﬁed mail, return receipt requested.

          AMAZON.COM SERVICES, INC., is a foreign for-proﬁt corporation doing business in
Texas and    may be     served With process by and through                   its   registered agent for service, Corporation


Service   Company dba CSC - Lawyers                   Incorporating Service           Company 211         E. 7th Street, Suite           620

Austin,   TX 7870 1 -32 1 8 USA and/or its Governing Person/President, Michael D. Deal, at 4                                   1   0 Terry

Avenue North,     Seattle,       WA 98   1   O9. Service 0f said Defendant can be effected personally and/or                              by

certiﬁed mail, return receipt requested.

          AMAZON.COM SERVICES LLC is a limited liability company doing business in Texas
and may be served With process by and through its registered agent for service, Corporation Service

Company dba CSC - Lawyers Incorporating                       Service     Company 211       E.   7th
                                                                                                       Street, Suite 620, Austin,


TX 7870 1 —32 1 8 USA and/or its Governing Person/President, Michael D. Deal, at 4                                   1   0 Terry Avenue

North, Seattle,   WA 98      1   09. Service       of said Defendant can be effected personally and/or by certiﬁed

mail, return receipt requested.


          ELITE AIR, LLC, is a foreign limited liability company doing business in Texas and may

be served With process by and through its registered agent for service, Eileen M. Joyce, Esq.,                                     at   2500

Brookpark Road, Cleveland, Ohio 44134 and/or                        its   CEO/President/Governing Person, Martin                          J.



Joyce, at 6779 Engle Road, suite C, Middleburg Heights, Ohio 44130. Service of said Defendant

can be effected personally and/or by certiﬁed mail, return receipt requested.

          TRAVISANO CONSTRUCTION, LLC                                   is   a foreign limited liability             company doing



                                             PLAINTIFF’S ORIGINAL PETITION
                                             AND REQUEST FOR DISCLOSURES
                                                               Page 3
     Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                    Page 25 of 98 PageID 25




business in Texas and     may be     served With process by and through                 its   registered agent for service,


Business Filings Incorporated, 701 Brazos Street, Suite 720, Austin,                     TX 78701 USA, and/or any of
the following Governing Persons, Peter Travisano, Steven                       T Richards and/or Jacqueline Travisano,

at   108 1 7 Garden Ridge   Ct.,   Davie,   FL 33328.         Service of said Defendant can be effected personally

and/or by certiﬁed mail, return receipt requested.

                                     IV.   JURISDICTION AND VENUE
         The   subj ect matter in controversy is within the jurisdictional limits 0f this court.


         This court has jurisdiction over the parties because Defendants owned, leased and/or

controlled property in Dallas County, Texas and/or were otherwise doing business in Texas at                               all


pertinent times material t0 this cause 0f action.


         Venue in Dallas County is proper in this cause under Section                    15 .002(a)(1) ofthe Texas Civil

Practice and   Remedies Code because               all   0r a substantial part 0f the events 0r omissions giving rise

t0 this lawsuit occurred in Dallas         County, Texas.

                                              V.     ACTS OF AGENTS
         Whenever    in this petition      it is   alleged that Defendants did any act,           it is   meant   that:


         A.       Defendants performed or participated in the                   act,


         B.       Defendants condoned 0r ratiﬁed the                    act,


         C.       Defendants’ agents, employees, ofﬁcers, trustees and/or other representatives

performed or participated in the act on behalf 0f and under the authority of the Defendants, and/or

         D.       Defendants” agents, employees, ofﬁcers, trustees and/or other representatives

condoned or ratiﬁed the      act   0n behalf of and/or under the authority of the Defendants.

         For purposes of the preceding paragraph, agents, employees, ofﬁcers, trustees and/or other

representatives 0f Defendants include any and                    all   such persons and/or afﬁliated      entities acting for,


by and/or 0n behalf 0f Defendants           in their       assumed 0r former names.

                                                           VI.   FACTS
                                      PLAINTIFF’S ORIGINAL PETITION
                                      AND REQUEST FOR DISCLOSURES
                                                              Page 4
      Case 3:20-cv-01909-C Document 1 Filed 07/20/20                             Page 26 of 98 PageID 26




           The claim      injury   made   the basis of this lawsuit occurred      0n or about June 21, 2018       at,   on

and/or in connection With and             HVAC       installation for   Amazon’s Dallas     area Distribution Center

at12401 N. Stemmons Freeway, Suite 100, Farmers Branch, Texas County, Texas.

           In June 0f 2018, Garland Heat                 &   Air was retained through Defendants ELITE and/or

TRAVISANO              t0 install "owner-provided" 25-t0n              package A/C     units,   along With associated

equipment and lined sheet—metal ductwork,                     at   AMAZON    Defendants’ Dallas area Distribution

Center at12401 N. Stemmons Freeway, Suite 100, Farmers Branch, Texas.

           Defendants ELITE and/or               TRAVISANO          reportedly contracted With one or      more 0f      the


AMAZON Defendants and/or their afﬁliate(s) t0 provide HVAC installations at this location and
other locations in Texas during the period in question and brought in                 GHAC on at least three 0fthese
jobs. Plaintiff is an       HVAC installer and was engaged by GHAC t0 provide installation services at
the   AMAZON Defendants’             distribution facility.3


           Plaintiff,    while providing said services on June 21, 2018, sustained severe and disabling

injuries   When a cable he was holding became entangled in a large ventilation fan and was jerked out

0f his hands, amputating multiple               digits   and disﬁguring both hands.    Plaintiff had previously   made

requests t0 Defendants t0 turn off the ventilation fan but they refused t0 turn off the fan in the area

Where he was working because               it   would have required other fans       at the facility to   be turned   off,


something Defendants were not Willing t0 d0.

           At   all   times material to this lawsuit, Defendants, either individually and/or together, at the

time of Plaintiff‘s amputation injuries, leased, maintained, operated, owned, provided, supervised

and/or otherwise exercised control and/or direction over the                  AMAZON Defendants’            Dallas area

Distribution Center in 0r about June 2018, the ventilation fans involved in and at the time of the




        3A1though       GHAC
                          claimed that Plaintiff was an independent contractor, the Texas Department 0f Insurance,
Division 0f Workers' Compensation determined that Plaintiff was GHAC's employee for purposes 0f workers'
compensation and thus, was a "covered employee" under their Texas workers' compensation policy.


                                          PLAINTIFF’S ORIGINAL PETITION
                                          AND REQUEST FOR DISCLOSURES
                                                              Page 5
   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                               Page 27 of 98 PageID 27




claimed incident and/or the proj ect on Which Plaintiffwas injured on or about June 2 1 20 1 8, and/or
                                                                                                   ,




were otherwise responsible       for the ventilation fan being      on and in operation at the time ofPlaintiffs

amputation injuries and/or failed t0 take reasonable action t0 turn off 0r disable the fan 0r to

otherwise make the area safe for purposes 0fthe work being performed by Plaintiff at the time ofthe

claimed incident.

        Furthermore, some 0r        all   0f the Defendants, as relates to project on Which Plaintiff was

injured and/or the location where his injury occurred, were, have been and/or are engaged in a


common scheme         or joint enterprise and/or are alter egos of each other and/or are otherwise

individually and jointly liable for the injuries and       damages made the basis 0f this lawsuit and Which

occurred as a result of the negligent acts and/or omissions of one or more of the Defendants and/or

their agents,   employees or representatives.       Plaintiff’ s injuries   and the damages herein sought by him

were proximately caused,     in   Whole and/or      in part,   by Defendants’ negligent   acts and/or omissions,


either individually and/or together,       and have resulted       in the   permanent disﬁgurement, impairment

and/or loss ofuse of Plaintiff s hands for Which he seeks recovery ofpersonal injury damages from

Defendants, individually and/or collectively.

                          VII.    PLAINTIFF'S         CLAIM OF NEGLIGENCE
        Defendants had a duty t0 exercise the degree 0f care that a reasonably careful person would

use t0 avoid harm to others under circumstances similar t0 those described herein. Without limiting

the breadth or scope ofthe foregoing averment, and pleading in the alternative, Defendants also              had

a duty t0   make   the premises safe      When   Plaintiff s use of and/or exposure t0 a dangerous condition


was necessary and it was foreseeable that Plaintiff,           despite his awareness ofthe risk, could not afford


the risk, as well as the duty t0 use ordinary care t0 ensure that the use 0f the ventilation fan did not


unreasonably increase the probability of injury          When Defendants        retained control over the fan and

the area in which Plaintiffwas     working at the time ofthe claimed incident and/or a duty use ordinary

care not to injure wilfully, wantonly or through gross negligence.


                                     PLAINTIFF’S ORIGINAL PETITION
                                     AND REQUEST FOR DISCLOSURES
                                                       Page 6
   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                          Page 28 of 98 PageID 28




       Plaintiff’ s injuries   were proximately caused by Defendants’ negligent, careless and reckless

disregard 0f said duties.

        The   negligent, careless   and reckless disregard 0f duty ofDefendants consisted        0f,   but   is   not

limited t0, one 0r   more of the following      acts   and omissions:   failure t0 provide a reasonably safe


workplace; failure to follow established procedures 0r protocol; failure t0 disable, guard 0r otherwise

operate the ventilation fan in a reasonably safe manner; failure t0 provide proper safety equipment

and/or otherwise necessary instrumentalities; failure t0 properly control, monitor, operate and/or

supervise the location and area Where the claimed incident occurred, the proj ect and          work that was

being performed    at said location   and/or the ventilation fan and associated equipment or apparatus

involved in the claimed incident; and/or the failure properly screen, employ, retain, train and/or

supervise their agents, employees and/or representatives at said location and/or that were involved

in the project and/or   work being performed      at said location.


       Each ofthe above acts or omissions, singularly 0r in combination with each other, constituted

negligence, and negligence per       se,   Which proximately and    directly caused Plaintiff’ s injuries         and

damages.

                                              VIII.    DAMAGES
       As   a direct and proximate result of the occurrence        made    the basis of this lawsuit, Plaintiff


was caused    to suffer bodily injuries, including      amputation and/or disﬁgurement of multiple digits

and portions 0f both hands, and      t0 incur the following     damages:

       A.        Reasonable medical care and expenses in the          past;


       B.        Reasonable and necessary medical care and expenses             Which   Will in all reasonable
                 probability be incurred in the future;


                 Physical pain and suffering in the past;

       D.        Physical pain and suffering in the future;

       E.        Physical impairment and disﬁgurement in the past;



                                    PLAINTIFF’S ORIGINAL PETITION
                                    AND REQUEST FOR DISCLOSURES
                                                       Page 7
   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                              Page 29 of 98 PageID 29




           F.      Physical impairment and disﬁgurement Which, in all reasonable probability,                          is
                   permanent and/or will continue t0 be suffered long into the future;

           G.      Loss 0f earnings in the past;

           H.      Loss of earning capacity Which        Will, in all probability,   be incurred in the future;

           I.      Mental anguish     in the past; and/or


           J.      Mental anguish in the      future.



                                       IX.   EXEMPLARY DAMAGES
           Pleading further in the alternative, and in the event       it is   shown   that   Defendants acted With

malice and/or conscious disregard ofrisk 0f serious harm or injury to Plaintiffand/or others similarly

situated t0 Plaintiffand/or were otherwise grossly negligent, Plaintiffwould be entitled t0                  and hereby

seeks an award 0f exemplary damages as allowed by law.

                                                X.   DISCOVERY
           Plaintiff requests that   Defendants disclose the information required t0 be disclosed by Rule

194 0f the Texas Rules of Civil Procedure by delivering said information t0                      Plaintiff’ s attorney


within 50 days 0f the date on which this petition          is   served 0n Defendants.

           Plaintiff reserves the right t0   propound additional discovery and t0 allege additional claims

and   facts as   may be   appropriate based 0n future developments and/or as additional information                    is


learned 0r revealed through discovery in this cause.

                                                  XI.   PRAYER
           WHEREFORE, PREMISES CONSIDERED,                             Plaintiff respectfully prays            that   the


Defendants be cited t0 appear and answer herein, and that upon a ﬁnal hearing 0f the cause,

judgment be entered       for the Plaintiff against Defendants for personal injury            damages   in   an amount

within the jurisdictional limits of the Court; exemplary damages as allowed by law; pre-judgment

interest   (from the date of injury through the date ofjudgment)         at the   maximum rate allowed by law;



                                       PLAINTIFF’S ORIGINAL PETITION
                                      AND REQUEST FOR DISCLOSURES
                                                        Page 8
   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                            Page 30 of 98 PageID 30




post-judgment interest at the legal rate, costs of court; and such other and further reliefto which the

Plaintiff may   be entitled   at   law 0r in   equity.


                                                         Respectfully submitted,


                                                         LAW OFFICE OF
                                                         WM. RANDELL JOHNSON
                                                         P.0.Box 260080
                                                         PLANO, Tx 75026
                                                         VOICE: 972/769-7200
                                                         FAX: 972/758—9783

                                               BY:       /s/    Wm. Randell Johnson
                                                         WM. RANDELL JOHNSON
                                                         SBOT NO. 10805450
                                                         wrjlaw@aol.com

                                                         -AND-


                                                         STEWART D. MATTHEWS
                                                         1905 W. ENNIS AVENUE, SUITE 506
                                                         ENNIS,TEXAs 75119
                                                         VOICE: 972/398—6666
                                                         FAX: 214/206-9991

                                               BY:       /s/ Stewart D.   Matthews
                                                         STEWART D. MATTHEWS
                                                         SBOT N0.    24039042
                                                         Attorney@accidentlawyerlegal



                                                         ATTORNEYS FOR PLAINTIFF
                        PLAINTIFF REQUESTS TRIAL BY JURY
                   AND TENDERS HIS JURY FEE WITH THIS PETITION




                                       PLAINTIFF’S ORIGINAL PETITION
                                       AND REQUEST FOR DISCLOSURES
                                                         Page 9
                              Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                 Page 31 of 98 PageID 31



FORM NO. 353—3 CITATION          -                                                                                                     CERTIFIED MAIL

THE STATE 0F TEXAS                                                                                                                       CITATION
To:   AMAZON
      BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                                   DC-20-08491
      12401 N. STEMMONS FREEWAY SUITE 100
      FARMERS BRANCH TX 00000
                                                                                                                                         MICHAEL SCOTT
GREETINGS:                                                                                                                                        vs.
You have been     sued.  You may employ an attorney.           your attorney do not ﬁle a written
                                                             If you or                                                                       AMAZON, et al
answer with the                                     o c'lock a. m. of the Monday next following the
                    clerk who issued this citation by 10
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your anéwer should be addressed to the clerk of the 19lst District Court at 600                                       ISSUED THIS           ~
                                                                                                                                                                   _




Commerce      Street, Ste.   101, Dallas, Texas 75202.                                                                               22nd day of June, 2020

said Plaintiff being     MICHAEL SCOTT
                                                                                                                                       FELICIA PITRE
Filed in said Court 19th      day of June, 2020    against                                                                           Clerk District Courts,
                                                                                                                                     Dallas County, Texas
AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,
AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.COM SERVICES
LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                                 By:   TERESA JONES, Deputy

For   Suit, said suit   being numbered DC-20—08491, the nature of which          demand       is   as follows:

Suit on   OTHER PERSONAL INJURY                 etc. as   shown on   said petition   REQUEST FOR                                     Attorney for Plaintiff
DISCLOSURES,            a copy of which accompanies this citation. If this citation      is   not served,    it   shall   be     WM RANDELL JOHNSON
returned unexecuted.                                                                                                           LAW OFFICE OF WM RANDELL
                                                                                                                                           JOHNSON
WITNESS: FELICIA PITRE,              Clerk ofthe District Couns of Dallas,     C     nty Texas.                                          PO BOX 260080
                                                                                                                                        PLANO TX 75026
                                                                                                                                             972-769-7200


                                          ’


                              By      ~




                                     TERESA J         S




                                                                                                                                                       FEES NOT
                                                                                                                                                   ‘




                                                                                                                                                         PAm
                                               Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                             Page 32 of 98 PageID 32




                                                                                                    OFFICER'S RETURN
      Case No.     :   DC-20—08491
                                                                                                                      /
      Court No. 19lst District Couxt

      Style:   MICHAEL SCOTT
      vs.


      AMAZON,          ct al


      Came to hand on the                                       day of                           ,
                                                                                                        20                ,
                                                                                                                              at                o'clock               .M. Executed at            -



                                                                                                                                                                                                      ,




      within the County of                                                    at
                                                                                                    '




                                                                                                        o'clock   __               .M. on the                         day of
                                                                                                                                                                                            '




                                                                                                                                                                                                          ,




      20                            ,   by delivering   to the within    named




      each, in person, a true copy of this Citation together with the                   accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery. The diétance actually traveled by

      me    in serving   such process was                        miles and    my fees   are as follows:       To   certify         which witne§s   my hand.

                                                For serving Citation                $

                                                For mileage                         $                                               of                            County,
                                                                                                                                                                                V




                                                For Notary                          $                                               By                        .                         Deputy

                                                                                         (Must b6 veriﬁed         if served        outside the State of Texas.)
  >




      Signed and sworn         to   by the   said           -
                                                                                           before       me this               day of                                  ,   20        ,




      to certify   which witness          my hand   and   seal   of office.




                                                                                                                                   Notary Public                               County




401w ism                       ow                   5WD                  059V                0m                      g6,
                                   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                   Page 33 of 98 PageID 33


'




    FORM NO. 353—3 —CITAT10N                                                                                                                      CERTIFIED MAIL

    THE STATE 0F TEXAS                                                                                                                              CITATION
           AMAZON.COM
                                                                     ‘



    To:                                                                     ‘




           BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                                         DC-20-0849l
           12401 N. STEMMONS FREEWAY SUITE 100
           FARMERS BRANCH TX 00000
                                                                                                                                                   MICHAEL SCOTT
    GREETINGS:                       ,                                                                                                                       VS.
    You have been sued. You may employ an attorney.               your attorney do not ﬁle a written
                                                                    If you or                                                                           AMAZON, et a1
                                                       o'clock am. of the Monday next following the
    answer with the clerk who issued this citation by 10
    expiration oftwenty days after you were served this citation and petition, a default judgment
                                                                                                   may'be
    taken against you. Your answer should be addre'ssed to the clerk of the 191st District Court at 600                                              ISSUED THIS
    Commerce       Street, Ste.   101, Dallas, Texas 75202.                                                                                     22nd day of June, 2020

    Said Plaintiff being      MICHAEL SCOTT
                                                                                                                                                  FELICIA PITRE
                                                                                                                                       '




    Filed in said Court 19th       day of June, 2020      against                                                                           _
                                                                                                                                                Clerk District Courts,
                                                                                                                                                Dallas County, Texas
    AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON ’KYDC FLEX,
    AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.CQM SERVICES
    LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                                    By:       TERESA JONES, Deputy

    For    Suit, said suit   being numbered DC-20-08491, the nature of which demand                  fs   as follows:

    Suit   on   OTHER PERSONAL INJURY               etc. as   shown on    said petition   REQUEST FOR                                           Attorney for Plaintiff
    DISCLOSURES,             a copy of which accompanies      this citation. If this citation   is   not served,    it   shall   be        WM RANDELL JOHNSON
    returned unexecuted.                                                                                                              LAW OFFICE OF WM RANDELL
                                                                                                             '
                                                                                                                                                      JOHNSON
    WITNESS: FELICIA PITRE, Clerk offhe District Courts of Dallas, County Texas.                                                                    PO BOX 260080
    Given under my hand and the Seal of said Court at ofﬁce this 22nd da of June, 2020.                                                            PLANO TX 75026
                                                                                                                                                        972-769—7200
    ATTEST: FELICIA PITRE, Clerk of the             Distri     Courts


                                   By~               '.




                                         TERESA J NE
                                                                                                                                                        GUN Y omismBLE
                                                                                                                                                                   FEES NOT,
                                                                                                                                                                       mm   v
                                           Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                               Page 34 of 98 PageID 34




                                                                                                OFFICER'S RETURN
    Case No.      :   DC-20-08491
                                                                                                                                          '




    Court No. l9lst District Court                                                                                                                      I
                                                                                                                                                                 ,
                                                                                                                                                                          I




    Style:     MICHAEL SCOTT
          '




    vs.


    AMAZON, et a1                                                                                                             I




    Came to hand on the

    within the County of

    20                          ,   by delivering
                                                           day of




                                                    to the within   named
                                                                         at
                                                                                             ,
                                                                                                 20

                                                                                                 o'clock
                                                                                                       ‘
                                                                                                            _       ,
                                                                                                                        at


                                                                                                                             .M. on the
                                                                                                                                              o'clock           .M. Executed

                                                                                                                                                                day of
                                                                                                                                                                                       at            ,




                                                                                                                                                                                                         ,




    each, in person, a true copy of this Citation together with the               accompanying copy of this pleading, having ﬁrSt endorsed on same date of delivery. The distance actually traveled by

    me    in   sewing such process was                       miles and   my   fees are as follows:         To   certify      which witness      my hand.
                                            For serving Citation                  $
                                                                              >




                                            For mileage                           $                                           of                            County,

                                            For Notary                            $                                           By                                              I
                                                                                                                                                                                            Deputy

                                                                                      (Must be veriﬁed      'if
                                                                                                                  served outside the State of Texas.)
                                                       K                                                                           V




    Signed and sworn       to   by the said                                            before    me this                day of                                  ,
                                                                                                                                                                     20

    to certify    which witness       my hand   and   seal   of ofﬁce.




                                                                                                                             Notary Public                                        County




mute 6901               aw: 5WD                              063‘             0&5?ch
                             Case 3:20-cv-01909-C Document 1 Filed 07/20/20                           Page 35 of 98 PageID 35



FORM N0. 353—3 - CITATION                                                                                                       CERTIFIED MAIL
THE STATE OF TEXAS                                                                                                                CITATION
To:   AMAZON INC.                  -




      BY AND THROUGH THEIR'MANAGER/DISTRIBUTION CENTER                                                                            DC-20-08491
      12401‘N. STEMMONS FREEWAY SUITE 100
      FARMERS BR\ANCH TX 00000
                                                                                                                                  MICHAEL SCOTT
GREETINGS:                                           '                                                                                    vs.
                                                                                                                                      _




You have been 'sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                      AMAZON,      et al
answer with the clerk who issued this citation by 10. o'clock a.m. of the Monday next following the
expiration oftwenty fdays after you were served this citation-and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 191st District Court at 600                                 ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                               22nd ‘day 0f June, 2020

Said Plaintiff being     MICHAEL SCOTT                   '

                                                                                                                                                        '




                                                                                                                                FELICIA PITRE
Filed in said Court 19th      day of June, 2020     against                                                                   Clerk District Courts,
                                                                                                                              Dallas County, Texas
AMAZON, AMAZON.COM, AMAZON INC, AMAZON FLEX, AMAZON KYDC FLEX,
AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.COM SERVICES
LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                          By:   TERESA JONES,         Deputy

For   Suit, said suit   being numbered DC-20-08491, the nature of whichdemand          is   as follows:

Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                      Attorney for Plaintiff
DISCLOSURES, a copy of which accompanies this citation. If this citation is not served,'it shall be                      WM RANDELL JOHNSON
returned unexecuted.
                                                                                  '




                                                                                                                       LAW OFFICE OF WM RANDELL
                                                                                                                                    JOHNSON
WITNESS: FELICIA PITRE,                Clerk of the District Courts of Dallas, County Texas.                                     P O BOX 260080
                                                                                                                                'PLANO TX 75026
                                                                                                                                   972-769-7200
ATTEST: FELICM PITRE,             Clerk of the
                                                  D%urts         of Dallas, County,


                             By        u
                                       TERESA JON?!”
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                                               Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                        Page 36 of 98 PageID 36




                                                                                                         OFFICER'S RETURN
   Case No.      :       DC-20-0849l

   Court No. 19lst District Court

   Style:   MICHAEL SCOTT
   vs.               I




   AMAZON, ei a1
   Came     to   hand on the

   within the County of

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   each, in person, a true copy ofthis Citation together with thevaccompanying                                     copy ofthis pleading, having ﬁrst endorsed on same date of delivery. The distance actually traveled by

   me    in serving        such process was         _
                                                                     miles and   my   fees are as follows:          To   certify      which witness          my hand.
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                                                For Notary                                 $                                           By                                                     Deptity‘


                                                                                               (Must be veriﬁed         if served     outside the State of Texas.)


   Signed and sworn            to   by the   said                                               before        me this            day of                       ~
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   to certify    which witness            my hand       and   seal   of ofﬁce.




                                                                                                                                      Notary Public                                  County




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                             Case 3:20-cv-01909-C Document 1 Filed 07/20/20                            Page 37 of 98 PageID 37



FORMING.                353-3   —   CITATION                                                                                     CERTIFIED MAIL

THE STATE 0F TEXAS                                                                                                                 CITATION
To:       AMAZON FLEX
          BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                         DC—20-08491
          12401 N. STEMMONS FREEWAY SUITE 100
          FARMERS BRANCH TX 00000
                                                                                                                                   MICHAEL SCOTT
GREETINGS:        .


                                                                                                                                            vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                           AMAZON, et a1
answer with the clerk who issued this citation by 10 o c'lock a. m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 191st District Court at 600                                  ISSUED THIS
Commerce Street, Ste. 101 Dallas, Texas 75202.                                                                                 22nd day of June, 2020

Said Plaintiff being     MICHAEL SCOTT
                                                                                                                                 FELICIA PITRE         _




Filed 1n said Court 19th      day of June, 2020      against                                                                   Clerk District Courts,
                                                                                                                               Dallas County, Texas
AMAZON, AMAZON. COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,
AMAZON. COM.KYDC LLC, AMAZON. COM SERVICES INC. AMAZON. COM SERVICES,
LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                           By:   TERESA JONES,      Deputy

For   Suit, said suit   being numbered DC-20- 08491, the nature of which demand     ls   as follows.

Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                       Attorney for Plaintiff
DISCLOSURES, a copy of which accompanies this citation. If this citation is not served,                it   shall   be     WM RANDELL JOHNSON
returned unexecuted.                                                                                                     LAW OFFICE OF WM RANDELL
                                                                                                                                     JOHNSON
WITNESS: FELICIA PITRE'            Clerk of the District Courts of Dallas, County Texa's.                                          PO BOX 260080
Given under     my    hand and the Seal of said Court at ofﬁce this 22nd day of June, 2020.        ’
                                                                                                                                  PLANO TX 75026
                                                                                            1191
                                                                                                            n                          972-769-7200
ATTEST; FELICIA PITRE,              Clerk   oftheD   trictCourts ofDauas,   Co   ,Tex,"'-;,j

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                                                  Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                           Page 38 of 98 PageID 38




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                                                                                                    OFFICER'S RETURN
     Case No.         :   13020-08491

     Court No. 19 1 st District Court

     Style:      MICHAEL, SCOTT

         vs.


     AMAZON,              ct a1
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     Came t9 hand on the                                        day of                             ,   20                      ,
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     within the County of                                                     at                       o'clock   __                             .M. on the                        day of                                                ,




     20                                ,   by delivering   to the within   named




         each, in person, a true copy of this Citation together with the                accompanying copy of this pleading, having ﬁrst endorsed on same date of délivery. The distance actually traveled by

         me    in serving   such process was               -

                                                                  miles and   my fees   are as follows:      To       certify           which witness          my hand.
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                                                   For mileage                      $                                                            0f                          County,

                                                   For Notary                       $                                                            By                                                   Deputy

                                                                                         (Must be veriﬁed        if    sewed outside                    the State of Texas.)
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         Signed ﬁnd sworn         t0   by the said                                         before      me this                     day of                                         ,   20       ,




         to certify   which witness          my hand and seal of ofﬁce.




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                              Case 3:20-cv-01909-C Document 1 Filed 07/20/20                       Page 39 of 98 PageID 39



FORM N0. 353—3 CITATION          -                                                                                           CERTIFIED MAIL

THE STATE OF TEXAS                                                                                                             CITATION

To:_   AMAZON KYDC FLEX
       BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                        DC-20—08491
       12401 N. STEMMONS FREEWAY SUITE 100
       FARMERS BRANCH TX 00000
                                                                                                                              MICHAEL SCOTT
GREETINGS:                                                                                                                            ‘




                                                                                                                                          vs.
'You have been sued. You may employ an attorney. If you or your attdmey do not ﬁle a written                                       AMAZON, et al
answer with the clerk who issued this citation by 10 o c'lock a. m. of the Monday next following the
expiration of twenty days after you were served this citation and petition a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 19lst District Court at 600                             ISSUED THIS
Commerce Street, Ste. 101 Dallas, Texas 75202.                                                                             22nd 'day of June, 2020

Said Plaintiff being      MICHAEL SCOTT
                                                                                                                       -
                                                                                                                             FELICIA PITRE
Filed in said   Court 19th day 0f June, 2020 against                                                                       Clerk District Courts,
                                                                                                                           Dallas County, Texas
AMAZON, AMAZON.COM, AMAZON INC” AMAZON FLEX, AMAZON KYDC FLEX,
AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.COM SERVICES
LLC, ELITE AIR LLC, TRAVISANO                   CONSTRUCTION LLC                                                     By:   TERESA JONES,        Deputy

For    Suit, said suit   being numbered DC-20—08491, the nature of which demand     is   as follows:

Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST
                                                                                 FOR'                                      Attorney for Plaintiff
DISCLOSURES, a copy of which accompanies this citation. If this Citation is not served,            it   shall   be     WM RANDELL JOHNSON
returned uhexecuted.                                                                                                 LAW OFFICE OF WM RANDELL
                                                                                                                                 JOHNSON
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                  PO BOX 260080
Given under my hand and the Seal of said Court at ofﬁce this 22nd day of June, 2020.                                          PLANO TX 75026
                                                                                                                                   972—769-7200
ATTEST: FELICIA PITRE,               Clerk   of%rCourts       of Dall     n   ,
                                                                                  Texas

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                              By                          r      7   A
                                                                         ,Deputy          Afn‘i
                                                                                         V:
                                      TERESA JO       S




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                                        Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                                     Page 40 of 98 PageID 40




                                                                                                            OFFICER'S RETURN
  Case No.     :    0020—08491

  Court No. 19lst District Court

  Style:   MICHAEL SCOTT
  vs.


  AMAZON, ct a1
  Came to hand on the

  within the County of

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  each, in person, a true copy of this Citation together with the                         accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery. The distance actually                            t‘raveled   by

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                                         For mileage                                      $                                                 of                                     County;

                                         For Notary                                       $                                                 By                                                                       Deputy
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  Signed and sworn to by the said                        ‘
                                                                                                   before    me this                  day of                                        4    20              ,




  to certify       which witness   my hand and seal of ofﬁce.




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                                 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                              Page 41 of 98 PageID 41



    FORM NO. 353-3 - CITATION                                                                                                          CERTIFIED MAIL

    THE STATE 0F TEXAS                                                                                                                   CITATION
    To:   ELITE AIR LLC
          BY AND THROUGH ITS ATTORNEY JON HILL                                                                                           DC—20-08491
          SILBERMAN LAW FIRM PLLC
          2060 NORTH LOOP WEST SUITE 220
          HOUSTON TX 77018                                                                                                               MICHAEL SCOTT
                                                                                                                                                 VS.
    GREETINGS:                                                                                                                            AMAZON,       et a1
    You have been     sued.  You may employ an attorney.           your attorney do not ﬁle a written
                                                                If you or

    answer with the                                     o 'clock a. m. of the Monday next following the
                        clerk who issued this citation by 10
-



    expiration of twenty days after you were served this citation and petition, a default judgment may be                                 ISSUED THIS
    taken against you. Your answer should be addressed to the clerk of the 191st District Court at 600                               23nd day of June, 2020
    Commerce      Street, Ste. 101, Dallas,   Texas 75202.


    Said Plaintiff being     MICHAEL SCOTT                                                                                             FELICIA PITRE
                                                                                                                                     Clerk District Courts,
    Filed in said Court 19th      day of June, 2020   against                                                                        Dallas County, Texas


    AMAZON, AMAZON. COM, AMAZON INC, AMAZON FLEX, AMAZON KYDC FLEX,
    AMAZON. COM. KYDC LLC, AMAZON. COM SERVICES INC” AMAZON. COM SERVICES                                                      By:   TERESA JONES, Deputy
    LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC

    For   Suit, said suit   being numbered DC-20-0849l, the nature of which     demand        is   as follows:                       Attorney for Plaintiff
    Suit on   OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                   WM RANDELL JOHNSON
    DISCLOSURES,            a copy of whichaccompanies this citation. If this citation
                                                                                   '
                                                                                         is   not served,    it   shall   be   LAW OFFICE OF WM RANDELL
    returned unexecuted.                                                                                                                    JOHNSON
                                                                                                                                         P O BOX 260080
    WITNESS. FELICIA PITRE,            Clerk ‘of the District Courts of Dallas, County Texas.
                                                                                                        '
                                                                                                                                        PLANO TX 75026
    Given under     my hand and the    Seal of said Court at ofﬁce this 23nd day of June, 202 0,                                          972—769-7200


    ATTEST: FELICLA PITRE,            Clerk of the
                                                     DiMéourts/     of Dallas, County, Texas


                                 By                                             ,D/eputy
                                       TERESA     JONEV
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                                                                                                                                                       FEES NOT
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                                              Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                      Page 42 of 98 PageID 42




                                                                                              OFFICER'S RETURN
       Case   N‘o.     :   Dc—20-08491

       Court No.19lst District Court

       Style:     MICHAEL SCOTT
       vs.


       AMAZON,                 et a1


       Came       to   hand on the                          day of             -

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       within the County of.                                              at                      o'élock                 .M. on the                          day 0f                                 ,




       20                              by delivering   to the within   gamed




       each, in person, a true copy of this Citation together with the             accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery. The distance actually traveled by

       me    in   sewing such prbcess was                     miles and   my   fees are as follows:     To   certify      which witness   my hand.

                                               For serving Citation                $

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                                               For mileage                         $                                       of                        County,

                           «                   For Notary                          $                                       By                                                       Deputy
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       Signed and sworn to by the said                                                  before    me this            day of                                   ,   20       ,




       to certify      which witness     my hgnd and seal of ofﬁce.



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                                      Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                Page 43 of 98 PageID 43



FORM NO. 353-3 CITATION                  -                                                                                                    CERTIFIED MAIL

THE STATE 0F TEXAS                                                                                                                              CITATION
        To:    TRAVISANO CONSTRUCTION LLC
           ’
               BY AND THROUGH ITS REGISTERED AGENT FOR SERVICE BUSINESS FILINGS                                                                 DC—20-08491
               INCORPORATED
               701 BRAZOS STREET SUITE 720
               AUSTIN TX 78701                                                                                                                  MICHAEL SCOTT
                                                                                                                                                        VS.
                                                                        \
        GREETINGS:                           -


                                                                                                                                                 AMAZON,      et a1

        You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
        answer with the clerk who issUed this citation by 10 o 'clock a. m. of the Monday next following the
        expiration of twenty days after you were served this citation and petition, a default judgment may be                                    ISSUED THIS
        taken against you. Your answer should be addressed to theclerk of the 191st District Court                       at   600           23nd day of June, 2020
                                                                                                                                        I




        Commerce Street, 'Ste. -101, Dallas, Texas 75202.
'




        Said Plaintiff being      MICHAEL SCOTT            _
                                                                                                                                              FELICIA PITRE
                                                                                                                                            Clerk District Courts,
        Filed in said Court 19th       day 0f June, 2020       against                                                                      Dallas County, Texas


        AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,‘
        AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC; AMAZON.COM SERVICES                  '
                                                                                                                                      By:   TERESA JONES, Deputy
    V
        LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC

        For    Suit, said suit   being numbered DC-20-08491, the nature of which demand              is   as follows:                       Attorney for Plaintiff
        Suit   on   OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                    WM RANDELL JOHNSON
        DISCLOSURES,             a copy of which accompanies this citation. If
                                                                               this citation    is    not served,   it   shall   be   LAW OFFICE 0F WM RANDELL
        returned unexecuted.                                                                                                                       JOHNSON
                                                                                                                                                P o BOX 260080
        WITNESS: FELICIA PITRE,           Clerk of the District Courts of Dallas, County Texas.                                                PLANO IX 75026
        'Given under    my   hand and the Seal of said Court at ofﬁce this 23nd day of June, 2020.                                               972-769—7200

                                                                                               Texas
                                                        Dyt Courts of
        ATTEST': FELICIA PITRE, Clerk of the                              Dalla      unty,


                                      By                                             ,   Deputy
                                             TERESA    J


                                                                                                                                                          CONSTABLE
                                                                                                                                                          FEES nor
                                                                                                                                                            PAID      ‘
                                             Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                             Page 44 of 98 PageID 44




                                                                                                  OFFICER'S RETURN
   Case No.      ;   13020-08491

   Court No. 19lst District Court

   Style:     MICHAEL SCOTT
   vs.


   AMAZON, ct al
   Came to hand on          the                          day of                                       20                J   at                o'clock                   .M. Executed at

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   within the County of                                                      at                       o'clock                    .M. on the                             day of                                      ,




   20                             ,   by delivering to the within named




   each, in person, a true copy of this Citation together with the                 accompanying copy of this pleading, having ﬁrst endorsed 0n same date of delivery. The distance actually traveled by

   me    in   sewing such process was                            miles and   my fees   are as follows:      To       certify     which witness   my hand.
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                                             For serving Citation                  $

                                              For mileage                          $                                              of                        County,
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                                              For Notary                           $                                              By                                                                   Deputy

                                                                                       (Must be veriﬁed         if served outside the State        of Texas.)

   Signed and sworn          to   by the   said   ~
                                                                                         before       me this               day of                                      ,
                                                                                                                                                                            20          ,




   to certify    which witness          my hand and   seal       of ofﬁce.




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Case 3:20-cv-01909-C Document 1 Filed 07/20/20                             Page 45 of 98 PageID 45




                                           FELICIA PITRE

                             DALLAS COUNTY DISTRICT CLERK

                                       NINA MOUNTIQUE
                                          CHIEF DEPUTY




                              CAUSE NO. DC-ZO-08491
                                        DC-20-08491




                                      MICHAEL SCOTT

                                                  vs.
                                                  VS.


                                       AMAZON,           et   al




                                   19lst District Court
                                   191st




                      ENTER           DEMAND FOR JURY
                                    JURY FEE PAID             BY:        MICHAEL SCOTT

                                            FEE PAID: $40




                600   COMMERCE STREET DALLAS, TEXAS                           653—7261
                                                                 75202 (214) 653-7261
                      FAX (214)653-7781    E-mail: Felicia.Pitre@dallascounty.org
                                                   Felicia.Pitrc@dallascounty.org
                       Web site: http://www.dallascounty.org/djstclerk/index.html
                                 http://Www.dallascounty.0rg/distclerk/index.html
                                                                                                                                         FILED
                                                                                                                         6/1   9/2020 4:1 3   PM
                                                                                                                               FELICIA PITRE
     Case 3:20-cv-01909-C Document 1 Filed 07/20/20                               Page 46 of 98 PageID 46                DISTRICT CLERK
                                                                                                                    DALLAS        CO., TEXAS
                                                                                                                    Angie Avina       DEPUTY


                        LAW OFFICES 0F WM. RANDELL J0HNSON*
P.   O.   BOX 26080                                                                             PLANO, TEXAS 75026


                                                         June 19, 2020


Dallas County District Clerk                                                                               E-FILED
Civil File    Desk
George Allen Courts Building
600 Commerce Street, Suite 103
Dallas, Texas 75202


           Re:      Cause N0.:            DC-20-08491
                    Style:                Michael Scott v. Amazon,       et al


TO THE DISTRICT CLERK:

           Please be advised we are requesting issuance ofprocess and service 0fthe Defendants in this
cause by certiﬁed mail, return receipt requested, as follows:


           Defendants    “AMAZON,” “AMAZON.COM,” “AMAZON, INC.,” “AMAZON
           FLEX,”       and “AMAZON KYDC FLEX”       by and through their
           Manager/Distribution Center             at   12401 N. Stemmons Freeway, Suite 100, Farmers
           Branch, Texas.


           Defendant   AMAZON.COM.KYDC, LLC, by and through its registered agent for
           service, Corporation Service            Company dba CSC       -
                                                                             Lawyers Incorporating Service
           Company 211       E.   7th
                                        Street, Suite 620, Austin,   TX 78701-3218 USA,

           Defendant AMAZON.COM          SERVICES, INC. by and through its registered agent
           for service, Corporation Service Company dba CSC - Lawyers Incorporating Service
           Company 211 E. 7th Street, Suite 620, Austin, TX 78701-3218 USA.

           Defendant AMAZON.COM                     SERVICES LLC by and through its registered agent
           for service, Corporation Service           Company dba CSC - Lawyers Incorporating Service
           Company 211       E.   7th
                                        Street,   Suite 620, Austin, TX 78701-3218 USA.


           Defendant ELITE AIR, LLC by and through its attorney Jon Hill at Silberman Law
           Firm,   PLLC, 2060 North Loop West,              Suite 220, Houston, Texas 77018.




Voice: 972/769—7200                                 E—mail: wrjlaw@aol.com                     Facsimile: 972/758—9783
                                                                                           ’
      *Board Certiﬁed in     Civil Trial     Law, Personal Injury Trial Law and Workers Compensation         Law
                                            Texas Board ofLegal Specialization
   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                         Page 47 of 98 PageID 47



        Defendant   TRAVISANO CONSTRUCTION, LLC by and through its registered
        agent for service, Business Filings Incorporated, 701 Brazos Street, Suite 720,
        Austin,   TX 78701 USA.

        The appropriate fees have been tendered Via eﬁling at the time ofﬁling ofPlaintiff’ s Original
Petition.


        Thank you     for your time, attention     and   asssistance. Please   do not hesitate   t0 contact   me   if

you have any questions regarding        this   correspondence or Mr. Scott’s claim.


                                                      Sincerely,


                                                      /s/   Wm. Randell Johnson
                                                      Wm.     Randell Johnson




Voice: 972/769—7200                            E—mail: wrjlaw@aol.com                      Facsimile: 972/758—9783
                                                                                       ’
    *Board Certiﬁed in   Civil Trial   Law, Personal Injury Trial Law and Workers Compensation           Law
                                   Texas Board ofLegal Specialization
                                  Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                             Page 48 of 98 PageID 48



    FORM N0. 353—3 CITATION            -                                                                                                                CERTIFIED MAIL
    THE STATE OF TEXAS
'




                                                                                                                                                          CITATION
    To:    TRAVISANO CONSTRUCTION LLC
       '
           BY AND THROUGH ITS REGISTERED AGENT FOR SERVICE BUSINESS FILINGS                          ‘                                                    DC-20-08491
           INCORPORATED
           701 BRAZOS STREET SUITE 720
           AUSTIN TX 78701                                                                                                                                MICHAEL SCOTT
                                                                                                                                                                   VS.
    GREETINGS:                                         ,
                                                                                             -




                                                                                                                                                              AMAZON, et a1
    You have been sued§ You may employ an attorney.                  If you or   your attorney do not ﬁle a written
    answer with the clerk who issued this citation by 10             o'clock a.m. of the    Monday                  next following the
    expiration of twenty days after you were served this citation and petition, a default judgment may be                                                  ISSUED THIS
    taken against you. Your answer should be addressed to the clerk of the 19lst District Court at 600                                                23nd day of June, 2020
    Commerce       Street, ’Ste. 101, Dallas,   Texas 75202.
I




    Said Plaintiff being      MICHAEL SCOTT                                                                                                             FELICIA PITRE
                                                                                                                                                      Clerk District Courts,
    Filed in said Court 19th       day of June, 2020       against                                                                                    Dallas County, Texas


    AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX;
    AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC,- AMAZON.COM SERVICES                           ‘
                                                                                                                                                By:   TERESA JONES, Deputy
    LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC

    For    Suit, said suit   being numbered DC-20-08491, the nature of which demand                            is   as follows:                       Attorney for Plaintiff
    Suit   on   OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                                  WM RANDELL JOHNSON
    DISCLOSURES,             a copy of which accompanies this citation. If this citation                  is   not served,    it   shall   be   LAW OFFICE OF WM RANDELL
    returned unexecuted.                                                                                                                                    JOHNSON
                                                                                                                                                          PO BOX 260080
    WITNESS: FELICLA PITRE,                Clerk of the District Courts of Dallas, County Texas.                                                         PLANO TX 75026
    Given under     my   hand and the Seal of said Court      at ofﬁce this 23nd day of June, 2020.                                                           972—769-7200

    ATTEST': FELICIA PITRE, Clerk of the                                                                 Texas
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                                  By                                                    ,   Deputy
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                                                 Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                               Page 49 of 98 PageID 49




                                                                                                           OFFICER’S RETURN
    Case No.      :   Dc-20-084'91

    Court N0. 19 lst District Court

    Style:     MICHAEL SCOTT
    vs.


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    Signed and sworn          to    by the said                      _
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    to certify    which witness          my hand    and   seal   of ofﬁce.




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                  Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                          Page 50 of 98 PageID 50
        P  .,    UNITED STATES
                 POSTAL SERVICE

        June     26,   2020


        Dear MAIL MAIL:


        The     following        is in   response   to    your request for proof of delivery on your item with the tracking nUmber:
        9214 8901 0661 5400 0152 0737                             74.
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        Status:                                                                   Delivered, Front Desk/Reception/Mail   Room
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        Postal Product:                                                           First—Class Mail®

        Extra Services:                                                           Certified MaiITM
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                                                                                  Return Recéipt Electronic
        Recipient Name:                                   ,
                                                                                  TRAVISANO CONSTRUCTION LLC
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        Recipient Signature



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        Thank you  for selecting the United States Postal Service® for your mailing needs. If you require additional
        assistance, please contact your local Post OfficeTM or a Postal representative at 1—800-222-1811                                       .




        Sincerely,
        United States Postal Service®

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        475 L'Enfant Plaza                SW    I




        Washington, D.C. 20260-0004




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        United States Postal Service. It is solely for customer use.



                                                                    Reference  ID: 92148901066154000152073774
                                                                    DCZO- 0'8491/TJ
                                                                    TRAVISANO CONSTRUCTION LLC
                                                                    BY AND THROUGH              ITS   REGISTERED AGENT BUSINESS FILINGS
                                                                    INCORPORATED
                                                                    701 Brazos St Ste 720
                                                                    Austin,       TX 78701-2556
.
    FORM NO. 353-3 C‘ITATION
    THE STATE 0F TEXAS
    To:   ELITE AIR LLC
                                Case 3:20-cv-01909-C Document 1 Filed 07/20/20



                                      -




          BY AND THROUGH ITS ATTORNEY JON HILL
          SILBERMAN LAW FIRM PLLC
          2060 NORTH LOOP WEST SUITE 220
                                                                                                                            Page 51 of 98 PageID 51



                                                                                                                                                                            W   CITATION


                                                                                                                                                                                DC-20—08491


          HOUSTON TX 77018                                                                                                                                                      MICHAEL SCOTT
                                                                                                                                                                                         VS.
    GREETINGS:                                                      .



                                                                                                                                          V
                                                                                                                                                                                    AMAZON, et a1
    You have been sued. You may employ an attorney.               If you oryour attorney do ‘not ﬁle a written
    answer with the clerk who issued this citation by 10          o'clock a.m. of the Monday next following the
    expiration of twenty days after you were served this citation and petition, a default judgment may be                                                                   ISSUED THIS
    taken against you. Your answer should be addressed to the clerk of the 191st District Court at 600                                                                  23nd day of June, 2020
    Commerce Street, Ste. 10,1 Dallas, Texas 75202.

    Said Plaintiff being     MICHAEL SCOTT                                                                                                                                  FELICIA PITRE
                                                                                                                                                                        Clerk District Couxts,
    Filed in said Court 19th      day of June, 2020 against                                                                                                             Dallas County, Texas


    AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,
    AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.COM SERVICES                                                                                            By:   TERESA JONES, Deputy
    LLC, ELITE AIR‘LLC, TRAVISANO CONSTRUCTION LLC

    For   Suit, said suit   being numbered DC-20-08491, the nature of which demand                 is   as follows:                                                     Attorney for Plaintiff
    Suit on   OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                                                  WM RANDELL JOHNSON
    DISCLOSURES,            a copy of which_accompanies       this citation. If this citation is
                                                                                         '
                                                                                                   not served,               it     shall         be          LAW OFFICE OF WM RANDELL
    returned unexecuted.                                                                                                                                                    .
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    WITNESS: FELICIA PITRE,          Clerk of the District Courts of Dallas, County Texas.                            ”HR GE Dngi                                           PLANO TX 75026
    Given under    my   hand and the Seal of said Court at ofﬁce this 23nd day of June, 202                   _._u"\3i}~"                                                           972-769-7200


    ATTEST: FELICIA PITRE,                Clerk of the   Diﬂouﬁs of Dallas, County, Texas                 r




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                                           TERESA JONE                                                            I




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       Case N'o.: Dc-20-08491

       Court No.19lst District Court

       Style:   MICHAEL SCOTT
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       vs.


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       to certify   which witness           my hand   and   seal   of ofﬁce.




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         Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                      Page 53 of 98 PageID 53
        UNITED STATES
ﬂ       POSTAL SERVICE


June 26, 2020


Dear MAIL MAIL:


The   following   is in    response      to   your request for proof of delivery onvyour item with the tracking number:
9214 8901 0661 5400 0152 0736                       68.


Item Details

Status:                                                             Delivered, Left with Individual

Status Date       I   Time:                         -
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                                                                   June 26, 2020, 12:29
Location:                                                           HOUSTON, TX 7701 8
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Postal Product:            .
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                                                                    First—Class Mail®

Extra Services:                                                     Certified MaiITM

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Recipient Name:                _                                    ELITE AIR LLC

Recipient Signature




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Note:   Scanned image may          reflect a different destination address due to Intended Recipient's delivery instructions on   file.




Thank you     for selecting the United States Postal Service® for 'your mailing                  needs. If you require additional
assistance, please contact your local                       Post Office?“ or a Postal representative at 1-800—222-181 1.


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Washington, D.C. 20260-0004




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                       z                                    Reference   92148901 066154000152073668
                                                                        ID:
                                                            D020-08491/TJ
                                                            ELITE AIR LLC
                                                            BY AND THROUGH ITS ATTORNEY                  JON    HILL
                                                            Silberman Law Firm Pllc
                                                            2060 North Loop   W
                                                                              Ste 220
                                                            Houston, TX 77018-8147
                             Case 3:20-cv-01909-C Document 1 Filed 07/20/20                               Page 54 of 98 PageID 54



FORM No. 353-3 — CITATION                                                                                                           CERTIFIED MAIL

THE STATE OF TEXAS                                                                                                                       CITATION
To:   AMAZON.COM SERVICES LLC
      BY AND THROUGH ITS REGISTERED AGENT FOR SERVICE CORPORATION                                                                        DC-20-08491
      SERVICE COMPANY DBA CSC— LAWYERS INCORPORATING SERVICE COMPANY
      211   E 7m ST SUITE 620
      AUSTINITX 78701—3218 USA                                                                                                           MICHAEL SCOTT
                                                                                                                                                  vs.
GREETINGS:                                                                                                                           ‘
                                                                                                                                             AMAZON, et al
You have been        You may employ an attorney. If you or your attorney do not ﬁle a written
                  sued.
                     whd issued this citation by 10 0 c'lock a. m. of the Monday next following the
vanswer with the clerk
expiration of twenty days after you were served this citation and petition, a default judgment may be                                 ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the l9lst District Court                    at   600           23nd day of June, 2020
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                                             I




Said Plaintiff being     MICHAEL SCOTT                                                                                              FELICIA PITRE
                                                                                                                                  Clerk District Courts,
Filed in said Court 19th      day of June, 2020 against                                                                           Dallas County, Texas


AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,
AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.COM SERVICES                                                          By:   TERESA JONES, Deputy
LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC

For   Suit, said suit   being numbered DC—20—08491, the nature of which     demand         is   as follows:                       Attorney for Plaintiff
Suit on   OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                    WM RANDELL JOHNSON
DISCLOSURES,            a copy of which accompanies this citation. If this citation   is   not served,    it   shall   be   LAW OFFICE OF WM RANDELL
returned unexecuted.                                                                                                                    JOHNSON
                                                                                                                                       O BOX 260080
                                                                                                                                         P
                                                                                                                                     PLANO TX 75026
                                                                                                                                             972-769—7200

                                                              of Dallas, County, Ti;
ATTEST: FELICIA PITRE,             Clerk ofthe   DiVurt
                             By‘
                                            Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                        Page 55 of 98 PageID 55




                                                                                           OFFICER'S RETURN
    Case No.     :   DC-20-08491

    Court No. 19lst District Court

    Style:   MICHAEL SCOTT
    vs.


    AMAZON,          et a1


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    Signed and sworn         to   by   the said             x                        before    me this            day of                                            ,
                                                                                                                                                                        20       ,         DISTRICT               CLERK
    to certify   which witness          my hand   and seal ofofﬁce.
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                       Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                Page 56 of 98 PageID 56
                .,   UNITED STATES
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                     POSTAL SERVICE
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            June 26, 2920


            Dear MAIIJ MAIL:


            The      following                 is in   responée     to       your request for proof of delivery on your item with the tracking number:
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            Status:                                                                             -


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            Location:                                                                               AUSTIN, TX 78760
            Postal Pﬁbduct:                                              .                          First—Class Mail®

            Extra Sefvices:                                                             _
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                                                                                                    AMAZON COM SERVICES LLC



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            Note:     Scanned image may                   reflect   a different destination address due to Intended Recipient's delivery instructions oh             ﬁle.




            Thank you                          States Postal Service® for your mailing needs. If you‘require additional
                                         for selecting the United                                                                                                           .




            assistance, please contact your local Post OfficeT’V' or a Postal representative at 1-800-222—1811.

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            Sincerely,
            United States Postal Service®
            475 L'Enfant Plaza SW
            Washington, D.C. 20260-0004
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            United States Postal Service. It is solely for customer use.
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                                                                                   Reference ID: 92148901066154000152073491
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                                                                                   AMAZON.COM SERVICES LLC
                                                                                   BY AND THROUGH ITS REGISTERED AGENT CORPORATION
                                                                                   SERVICE COMPANY
                                                                                   Dba Csc—-Lawyers Incorporating Service                          Company
                                                                                   211 E 7th St Ste 620
                                                                                   Austin, TX 78701 -3218
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                                Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                     Page 57 of 98 PageID 57



 FORM N0. 353-3 CITATION             -                                                                                                         CERTIFIED MAIL

 THE STATE OF TEXAS                                       -
                                                                                                                                                 '



                                                                                                                                                     CITATION
 To:     AMAZON.COM SERVICES INC
         BY AND THROUGH ITS REGISTERED AGENT FOR SERVICE CORPORATION                                                                                 DC-20-08491
         SERVICE CONIPANY DBA CSC — LAWYERS INCORPORATING SERVICE COMPANY
         211E 7TH ST SUITE 620
         AUSTIN TX 78701-3218 USA                                                                                                                MICHAEL SCOTT
                                                                                                                                                           vs.
 GREETINGS:                                                                                                                                           AMAZON,    et al
 You have been       You may employ an attorney. If you or your attorney do not ﬁle a written
                      sued.
answer with the clerk who issued this citation by 10 o 'clock a. m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be                                                ISSUED THIS
 taken against you. Your answer should be addressed                 to the clerk   of the 191st District Court          at   600             23nd day of June, 2020
                                                                                                                                   '




 Commerce         Street, Ste. 101, Dallas,    Texas 75202.

"Said Plaintiff being       MICHAEL SCOTT                                                                                                      FELICIA PITRE
                                                                                                                                             Clerk District Courts,
 Filed iﬁksaid Court 19th        day of June, 2020 against                                                                                   Dallas County, Texas


 AMAZON, AMAZON. COM, AMAZON INC. AMAZON FLEX, AMAZON KYDC FLEX,
 AMAZON. COM. KYDC LLC, AMAZON. COM SERVICES INC, AMAZON. COM SERVICES                                                                 By:   TERESA JONES,         Deputy
 LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC

 For     Suit, said suit   being numbered DC-20-08491, the nature of which demand                   is   as follows:                         Attorney for Plaintiff
 Sliit   on   OTHER PERSONAL INJURY etc. as shOwn on said petition REQUEST FOR                                                           WM RANDELL JOHNSON
 DISCLOSURES,              a copy of which accompanies         this citation. If this citation is    not served,   it   shall be       LAW OFFICE OF WM RANDELL
 returned unexecuted.                                                                                                                               JOHNSON
                                                                                                                                                 P O BOX 260080
                                                                                                                                                PLANO T'X 75026
                                                                                                                                                      972-769-7200

 ATTEST: FELICIA-PITRE,                  Clerk of the Distri     ouﬁs of


                                By


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                                  Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                         Page 58 of 98 PageID 58



FORM N0. 353—3 CITATION              —                                                                                                             CERTIFIED MAIL

THE STATE OF TEXAS                                                                                                                                   CITATION
.   To:    AMAZON. COM. KYDC LLC
           BY AND THROUGH ITS REGISTERED AGENT FOR SERVICE CORPORATION                                                                               DCL20—08491
           SERVICE COMPANY DBA CSC— LAWYERS INCORPORATING SERVICE COMPANY
           211‘E 7TH ST       SUITE 620
           AUSTIN TX 78701-3218 USA                                                                                                                  MICHAEL SCOTT
                                                                                                                                                              vs.
    GREETINGS:          -




                                                                                                                                                         AMAZON,    et al
    You have been sued. You may employ an attorney.               If you or your attorney do not ﬁle a written
    answer with the clerk who issued this citation by 10          o'clock a.m‘. of the Monday next following the
    expiration of twenty 'days after      you were served     this citation   and   petition,       a default judgment         may be                 ISSUED THIS
    taken against you.       Your answer should be addressed      to the clerk of the 19lst District                Court     at   600           23nd day of June, 2020
    Commerce       Street, Ste. 101, Dallas,   Texas 75202.


    Said Plaintiff being      MICHAEL SCOTT                                                                                                        FELICIA PITRE
                                                                                                                                                 Clerk District Courts,
    Filed in said Court 19th       day of June, 2020   a‘gainét                                                                                  Dallas County, Texas


    AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,
    AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC, AMAZON.COM SERVICES                                                                      By:   TERESA JONES,        Deputy
    LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC

    For    Suit, said suit   being numbered DC-20-08491, the nature ofwhich demand                        is   as follows:                       Attorney for Plaintiff
    Suit   on   OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                             WM RANDELL JOHNSON
    DISCLOSURES,             a copy of which accompanies this citation. If this citation             is    not served,   it   shall   be   LAW OFFICE OF WM RANDELL
    returned unexecuted.                                                                                                                               JOHNSON
                                                                                                '
                                                                                                                                                     PO BOX 260080
    WITNESS: .FELICIA PITRE,             Clerk of the District Courts of Dallas,      Couﬁ                                                          PLANO TX 75026
                                                                                                                                                         972-769-7200




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                                                         Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                               Page 59 of 98 PageID 59




                                                                                                               OFFICER’S RETURN
  Case No.           :   DC-20-08491

  Court No. 19 1 st District Court

  Style:        MICHAEL SCOTT
  vs.

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  AMAZON,                et a1


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             Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                    Page 60 of 98 PageID 60

    7       UNITED STATES
            POSTAL SERVICE

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    June    2‘6,   2020


    Dear MAIL MAIL:


    The   following       is in       response   to    your request for prbof of delivery on your item with                    th'e   tracking number:

    9214 8901‘ 0661 5400 0152 0733                        78.


    Item Défails
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    Status:                                                                   Delivered, Individual Picke’d           Up   at Postal Facility

    Status Date          I    Time:                                           June 26, 2020, 6:44             am
    Location;                                                                 AUSTIN, TX 78760          I




    Postal Product:               -
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                                                                                  First-Class Mail®

    Extra Seljvices:                                                          Certified MailTM
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                                                                                  Return Receipt Electronic

    ReciPieni Name:                                                           AMAZON COM KYDC LLC
    Récipi’eht Signature


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    Thank you                          States Postal Service® for your mailing needs. If you require additional
                        for selecting the United
    assistance, please contact your local Post OfﬁceTM or a Postal representative at 1-800-222—181 1.

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    Sincerely,
    United States Postal Service®
    475 L'Enfant Plaza                 SW
    Washington, D.C. 20260-0004




    The customer referencé information shown beIOW'is not validated                                                 or endorsed by the
    United States Postal Service.                          It   is   solely for      customer use.


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                                                                AMAZON.COM. KYDC LLC
                                                                BY AND THROUGH ITS REGISTERED AGENT CORPORATION                                                   _




                                                                SERVICE COMPANY
                                                                Dba Csc--Lawyers Incorporating Service                        Company
                                                                211 E 7th St Ste 620
                                                                Austin, TX 78701 —3218
                a‘JW-VVT'
                                           Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                                   Page 61 of 98 PageID 61




                                                                                                      OFFICER' S RETURN
                                                                                                                                                      '                 '




    Case No.: 13020—08491

    Court No. l9lst District Court

    "Style:     MICHAEL SCOTT
     vs.
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         Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                   Page 62 of 98 PageID 62
P       UNITED STATES
        POSTAL SERVICE

June 26, 2020'


Dear MAIL MAIL:


The   following   is in    response   to           your request for proof of delivery on your item with the tracking number:
9214 8901'0661 5400 0152 0734                            22.
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Item Details                                                                 I




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Status:                                                                          Delivered, Individual Picked                 Up   at’PostaI Facility

Status Date       /   Time:                                                      June 26, 2020, 6:44                     am
Location:                                                                        AUSTIN, TX 78760
Postal‘ Product:                                                                 First—Class Mailé’
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Extra Services:                                                                  Certified MailTM
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Recipient Name:
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                                                                                 AMAZON COM SERVICES                          INC   ‘




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Recipient Signature


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Thank youfor  selecting the United States Postal Servilce® for your mailing needs. If you require additional
assistance, please contact your local Post OfficeTM or a Postal representative at'1-800—222-1811.


(Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260—0004




The customer'reference   information shown below is not validated or endorsed by the
United States Postal Service. It is solely for customer use.
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                                                                              ID: 92148901066154000152073422
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                                                                     D020—08491/TJ
                                                                     AMAZON.COM SERVICES INC
                                                                         BY AND THROUGH ITS REGISTERED AGENT CORPORATION
                                                             -



                                                                         SERVICE COMPANY
                                                                         Dba Csc-Lawyers Incorporating Service Company
                                                                     211 E 7th St Ste 620
                                                                     Austin, TX 78701—3218
                             Case 3:20-cv-01909-C Document 1 Filed 07/20/20                         Page 63 of 98 PageID 63



FORM NO. 353—3 CITATION           -                                                                                          CERTIFIED MAIL

THE STATE OF TEXAS                                                                                                              CITATION
To:   AMAZON INC.                     -




      BY AND THROUGH THEIR'MANAGER/DISTRIBUTION CENTER                                                                         DC-20-08491
      12401 N. STEMMONS FREEWAY SUITE 100
      FARMERS BRANCH TX 00000
                                                                                                                               MICHAEL SCOTT
GREETINGS:                                         o
                                                                                                                                    _
                                                                                                                                        vs.
You have been sued; You may employ an attorney. If you or your attorney do not ﬁle a written                                     AMAZON, et al
answer with the clerk who issued this citation by 10. o'clock a.m. of the Monday next' following the
expiration of twenty 'days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 19lst District Court              at   600               ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                             22nd day 0f June, 2020

Said Plaintiff being     MICHAEL SCOTT                   '
                                                                                                                                                 I




                                                                                                                             ~FELICIA PITRE
Filed in said Court 19th      day of June, 2020    against                                                                  Clerk District Courts,
                                                                                                                            Dallas County, Texas
AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,
AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.COM SERVICES
LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                        By:   TERESA JONES,      Deputy

For   Suit, said suit   being numbered DC—20-08491, the nature of which_demand        is   as follows:

Suit on   OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR                                                  Attorney for Plaintiff
DISCLOSURES,      a copy of which accompanies this citation. If this citation    is   not served,'it shall be          WM RANDELL J0HNsON
returned unexecuted.
                                                                          '




                                                                                                                     LAW OFFICE 0F WM RANDELL
                                                                                                                                  JOHNSON
WITNESS: FELICIA           PITRE, Clerk of the District Courts of Dallas, County Texas.                                        P o Box 260080
                                                                                                                              PLANO TX 75026
                                                                                                                                 972—769—7200



                             By
                                          TERESA JONES

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                                                    Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                Page 64 of 98 PageID 64




                                                                                                                OFFICER‘S RETURN
   Case No.            :       DC-20-08491

   Court No. 19 Ist District Court

   Style:         MICHAEL SCOTT




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       vs.


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    P     Case 3:20-cv-01909-C Document 1 Filed 07/20/20
          4.,    UNITED STATES
                 POSTAL SERVICE”
                                                                                            Page 65 of 98 PageID 65




    Date'Produc'ed: 06/26/2020


    THE MAIL GROUP INC                  — 1   ICONFIRM DELIVERY             INC:


    The following is the delivery information for Certified MaiITM/RRE item number 9214 8901 0661 5400
    0152 0655 71. Our records indicate that this item was delivered on 06/25/2020 at 01. 11 p. m. in DALLAS,
    TX 75234. The scanned'Image ofthe recipient information'Is provided below.
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    Thank you        for selecting the Postal Service for        your mailing needs. lf you require additional assistance,
    please contact your local post office           or_   Postal Service representative.


    Sincerely,
    United States Postal Service               .




    The customer reference number shown below                    is   not validated or endorsed by the United Statés Postal
    Service.    It   is   solely for   customer use.




    The customer reference   information shown below is not validated or endorsed by the
    United States Postal Service. It is solely for customer use.



                                                    Reference         ID:   92148901 0661 540001 52065571
                                                    DCZO- 08491/TJ
                                                    AMAZON INC.
                                                    BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER
                                                    12401 N Stemmons Fwy Ste 100
                                                    Farmers Branch, TX 75234- 5822
                               Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                    Page 66 of 98 PageID 66


                                                                                                                                           CERTIFIED MAIL
FORM NO. 353-3 CITATION           -


THE STATE 0F TEXAS                                                                                                                           CITATION

To:    AMAZON
       BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                                      DC-20—08491
       12401 N. STEMMONS FREEWAY SUITE 100
       FARMERS BRANCH TX 00000
                                                  ‘




                                                                                                                                            MICHAEL SCOTT
GREETINGS:                                                                                                                                             vs.
You have been      sued.  You may employ an attorney.          your attorney do not ﬁle a written
                                                             If you or                                                                           AMAZON,     et al

answer with the                                     o 'clock a. m. of the Monday next following the
                     clerk who issued this citation by 10
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your anéwer should be addressed to the clerk of the 19lst District Court at 600                                           ISSUED THIS             h
                                                                                                                                                                             .




Commerce       Street, Ste.   101, Dallas, Texas 75202.                                                                                  22nd day of June, 2020

said Plaintiff being      MICHAEL SCOTT
                                                                                                                                           FELICIA PITRE
Filed in said Court 19th day of June, 2020 against                                                                                       Clerk District Courts,
                                                                                                                                         Dallas County, Texas
AMAZON, AMAZON. COM, AMAZON INC.                           AMAZON FLEX, AMAZON KYDC FLEX,
AMAZON. COM. KYDC LLC, AMAZON. COM SERVICES INC. AMAZON. COM SERVICES
LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                                     By:   TERESA JONES, Deputy

For    Suit, said suit   being numbered DC-20-08491, the nature 0f which demand                   is   as follows:

Suit   on   OTHER PERSONAL INJURY etc. as shown on                 said petition       REQUEST FOR                                       Attorney for Plaintiff
DISCLOSURES,             a copy Of which accompanies this citation.      (If   this citation is   not served,    it'shall   be      WM RANDELL JOHNSON
returned unexecuted.                                                                                                              LAW OFFICE OF WM RANDELL
                                                                                                                                               JOHNSON
WITNESS: FELICIA PITRE,               Clerk of the District Courts of Dallas,      C    nty Texas.                                           PO BOX 260080
                                                                                                                                            PLANO TX 75026
                                                                                                                                                 972-769—7200



                               By,
                                      TERESA J         S




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                                             Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                         Page 67 of 98 PageID 67




                                                                                                   OFFICER‘S RETURN
       Case No.      :    DC-20-08491

       Court No. 19lst District Coun.

       Style:   MICHAEL SCOTT
       VS.
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       AMAZON,            ct a1


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                                                                                          accompanying copy of this pleading,

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       Signed and sworn to by the said                     -
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       to certify        which witness   my hand   and   seal      of ofﬁce.                                                                                                                             DALLAS, TEXAS 75202-4606




                                                                                                                                         Notary Public                                 County




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           Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                           Page 68 of 98 PageID 68
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     ~.,   UNITEDSTATES
           POSTAL SERVICE

June 30, 2020


Dear MAIL MAIL:


Th'e following       is in    response to your request         for proof of delivery            on your item with the tracking number:
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Status:r                 .

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Status Date         /    Time:                                   June 29, 2020, 2:23              pm
Location:                                                        DALLAS, TX 75234
Postal Product:                                                  First-Class Mail®
Extra Services:                                                  Certiﬁed MailTM
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Recipien’t        Name:                                          AMAZON
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Thank you         for selecting the United States Postal Service® for            your mailing n‘eeds. If you require additional
assistance, please contact your local                    Post OfficeTM or a Postal representative at 1-800-222-181 1.

Sincerely,
United States P'ostal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




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                                                    DCZO-08491/TJ
                                                    AMAZON            ~




                                                    BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER
                                                    12401 N Stemmons Fwy Ste 100
                                                    Farmers Branch, TX 75234-5822
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                                  Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                     Page 69 of 98 PageID 69


                                                                                                                                                   CERTIFIED MAIL
’




    FORM N0. 353—3 -CITAT10N
    THE STATE OF TEXAS                                                                                                                               CITATION

          AMAZON.COM
                                                                 ~




    To:                                                                  .




          BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                                           DC-20—08491
          12401 N. STEMMONS FREEWAY SUITE 100
          FARMERS BRANCH TX 00000
                                                                                                                                                    MICHAEL SCOTT
                                                                                                                                                               >



    GREETINGS:                                                                                                                                                     vs.

    You have been sued. You may employ an attorney.              your attorney do not ﬁle a written
                                                                If you or                                                                                AMAZON,         et al
                                                       o'clock a.m. of the Monday next following the
    answer with the clerk who issued this citation by 10
    expiration oftwenty days after you were served this citation and petition, a default judgment
                                                                                                  may'be
    taken against you. Your answer should be addressed to the clerk of the 19lst District Court at 600                                               ISSUED THIS
    Commerce      Street, Ste.   101, Dallas, Texas 75202.                                                                                       22nd day of June, 2020

    Said Plaintiff being     MICHAEL SCOTT
                                                                                                                                                   FELICIA PITRE
    Filed in said Court 19th day of June, 2020 against                                                                                       r
                                                                                                                                                 Clerk District Courts,
                                                                                                                                                 Dallas County, Texas
    AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,                                                                ‘




    AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC, AMAZON.COM SERVICES
    LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                                     By:       TERESA JONES, Deputy

    For   Suit, said suit   being numbered DC-20-08491, the nature of which              demand       fs   as follows:

    Suit on   OTHER PERSONAL INJURY etc. as shown on                   said petition      REQUEST FOR                                            Attorney for Plaintiff
    DISCLOSURES,            a copy of which accompanies this citation.
                                                                             ‘If
                                                                                   this citation is   not served,    it   shall   be     WM RANDELL JOHNSON
    returned unexecuted.                                                                                                               LAW OFFICE OF WM RANDELL
                                                                                                              h
                                                                                                                                                       JOHNSON
    WITNESS: FELICIA PITRE,              Clerk of the District Courts of Dallas,   County Texas.                                                     PO BOX 260080
    Given under     my hand and the      Seal of said Court at ofﬁce this    22nd da ofJune, 2020.                                                  PLANO TX 75026
                                                                                                                                                         972-769-7200
    ATTEST: FELICIA PITRE,              Clerk of the Distri   Courts

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                                              Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                  Page 70 of 98 PageID 70




    Case No.2 DC- 20- 08491

    Court No. l9 lst District Court

     Style:     MICHAEL SCOTT
           '




     vs.


     AMAZON,          ct a1              >
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     Signed and sworn              by the said                                        before     me   this               day of                                                  20
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     to certify      which witness    my hand    and   seal   ofofﬁce.                                                                                                                              DALLAS, TEXAS 75202-4606



                                                                                                                                  Notary Public                                       County




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                            Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                         Page 71 of 98 PageID 71
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                            UNITED STATES
                            POSTAL SERVICE

            June 30, 2020


            Dear MAIL MAIL:


            The         following    is in   response       to   your request        for proof of delivery    on your item with the tracking number:
    ‘




            9214 8901 0661 5400 0152 0655                                    40.’



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            Status:                                                                   Delivered tq Agent for Final Delivery
            Status Date              I   Time:                   >
                                                                                      June 29, 2020, 2:23         pm
                                                                                      DALLAS, TX 75234
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            Location:
            Postal Product:                                                           First—Class Mail®

            Extra Services:                                                           Certiﬁed MaiITM
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            Recipient Name:                                              -


                                                                                      AMAZON COM
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            Sincerely,
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            Washington, D.C. 20260-0004




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                                                                               Reference ID: 92148901066154000152065540
                                                                               DCZO-08491ITJ
                                                                               AMAZON.COM
                                                                               BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER
                                                                               12401 N Stemmons Fwy Ste 100
                                                                               Farmers Branch, TX 75234-5822
                              Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                         Page 72 of 98 PageID 72



FORM .NO. 353-3 - CITATION                                                                                                                             CERTIFIED MAIL

THE STATE 0F TEXAS                                                                                                                                       CITATION
To:       AMAZON FLEX
          BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                                               DC-20-08491
          12401 N. STEMMONS FREEWAY SUITE 100
          FARMERS BRANCH TX 00000
                                                                                                                                                         MICHAEL SCOTT
GREETINGS:        .


                                                                                                                                                                  vs.
You have been sued. You may employ an attorney.                your attorney do not ﬁle a written
                                                               If you or                                                                                     AMAZON, et a1
answer with the clerk who issued this citation by 10o c'lock a. m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 19lst District Court at 600                                                        ISSUED THIS
Commerce      Street, Ste.   101, Dallas, Texas 75202.                                                                                               22nd day of June, 2020

Said Plaintiff being     MICHAEL-SCOTT
                                                                                                                                                       FELICIA PITRE
Filed in said Court 19th      day of June,    20.20 against                                                                                          Clerk District Courts,
                                                                                                                                                     Dallas County, Texas
AMAZON, AMAZON. COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,                                                                           _




AMAZON. COM. KYDC LLC, AMAZON. COM SERVICES INC., AMAZON. COM SERVICES
LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                                                 By:   TERESA JONES, Deputy

For   Suit, said suit   being numbered DC-20- 08491, the nature of which demand                      ls   as _:follows

Suit on     OTHER PERSONAL INJURY                etc. as   shown on     said petition       REQUEST FOR                                              Attorney for Plaintiff
DISCLOSURES,            a copy of which accompanies this citation.          If‘   this citation is   not served,         it   shall   be         WM RANDELL JOHNSON
returned unexecuted.                                                                                                                           LAW OFFICE OF WM RANDELL
                                                                                                                                                           JOHNSON
WITNESS: FELICIA PITRE, Clerk of the              District Courts       of Dallas, County Texas.                                                         PO BOX 260080
                                                                                                                                                        PLANO TX 75026
                                                                                                                                                             972-769—7200
ATTEST: FELICIA PITRE,             Clerk of
                                              tyuict        Courts of Dallas,       C
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                                                  Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                    Page 73 of 98 PageID 73




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    Case No.        :   Dc-20—08491

    Coun No. 191st District           Court

    Style:      MICHAEL. SCOTT

        VS.


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        Signed and sworn       to   by the said                                          before   me this               day of                                              ,
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        to certify-which witness       my hand and seal         ofofﬁcc.                                                                                                                               DALLAS, TEXAS 75202-4606




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                   Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                           Page 74 of 98 PageID 74
             V
        g,        UNITED STATES       ‘




        %%        POSTAL SERVICE

        June 30, 2020


        Dear MAIL MAIL:


        The      folloviving is in   response to your request             for proof of delivery         on your item with the tracking number:
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        9214      89051   0661 5400 0152 0656 32.



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        Status:                                                            Delivered to Agent for Final Delivery
        Status Date         I   Time:                                      June 29, 2020, 2:23            pm
        Location:                                                          DALLAS, TX 75234
        Postal Product:                                     ‘
                                                                           First—Class Mail®

        Extra Services:                                                    Certified MaiITM
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                                                                           Return Receipt Electronic
        'Recipieqt        Name:                         I
                                                                           AMAZON FLEX



                                Signature of Recipient:                     KC,   (Mo     W
                                    (Authorized Agent)                      (g,   Camp         (q   V




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        Note:     Scanned image may       reflect   a different destination address due   to   Intended Recipient's delivery instructions on   file.




        Thank you         for selecting the United States Postal Service® for                    yoUr mailing needs.      If   you require additional
        assistance, please contact your local Post OfficeTM or a Postal representative at 1-800—222-181                                        1.



        Sincerely],
        United States Postal Service®
        475 L'Enfant Plaza SW
        Washington, D.C. 20260-0004




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                                                                    ReferenceID: 92148901066154000152065632
                                                                    DCZO—08491/TJ
                                                                    AMAZON FLEX
                                                                    BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER
                                                                    12401 N Stemmons Fwy Ste 100
                                                                    Farmers Branch, TX 75234-5822
                                  Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                         Page 75 of 98 PageID 75



    FORM N0. 353-3 — CITATION                                                                                                                                     CERTIFIED MAIL
                                                              >




    THE STATE OF TEXAS                                                                                                                                              CITATION
    To:   AMAZON KYDC FLEX
          BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER                                                                                                          DC-20-08491
          12401 N. STEMMONS FREEWAY SUITE 100
          FARMERS BRANCH TX 00000
                                                                                                                                                                    MICHAEL SCOTT
    GREETINGS:                                                                                                                                                           I



                                                                                                                                                                             VS.
    'You have been sued.        You may employ an attorney.       your attdmey do not ﬁle a written
                                                                      If you or                                                                                      AMAZON,       et a1

    answer with the                                     o'clock a.m. of the Monday next following the
                           clerk who issued this citation by 10
    expiration of twenty days after you were served this citation and petition, a default judgment may be
    taken against you. Your answer should be addressed to the clerk of the 19lst District Court at 600                                                               ISSUED THIS
    Commerce     Street, Ste. 101, Dallas      Texas 75202.                                                                                                     22nd ‘day of June, 2020

    Said Plaintiff being        MICHAEL SCOTT
                                                                                                                                                                  FELICIA PITRE
    Filed in said Court 19th       day of June, 2020 against                                                                                                    Clerk District Courts,
                                                                                                                                                                Dallas County, Texas
    AMAZON, AMAZON.COM, AMAZON INC., AMAZON FLEX, AMAZON KYDC FLEX,
    AMAZON.COM.KYDC LLC, AMAZON.COM SERVICES INC., AMAZON.COM SERVICES
    LLC, ELITE AIR LLC, TRAVISANO CONSTRUCTION LLC                                                                                                        By:   TERESA JONES,        Deputy

    For               numbered DC-20-08491, the nature of which demand is as follows:
          Suit,-said suit being
    Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST
                                                                                     FOR'                                                                       Attorney for Plaintiff
    DISCLOSURES, a copy of which accompanies this citation. If this citation is not served, it                                               shall   be     WM RANDELL JOHNSON
    returned unexecuted.                                                                          .


                                                                                                                                                          LAW OFFICE OF WM RANDELL
                                                                                                                                                                       JOHNSON
    WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                                                   P O BOX 260080
    Given under my hand and the Seal of said Court at ofﬁce this 22nd day 0f June, 2020.                                                                           PLANO TX 75026
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    ATTEST: FELICIA PITRE,             Clerk   Of%rCourts                   of Dall                   n   ,
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                                               Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                                          Page 76 of 98 PageID 76




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    Case No.     :    DC-20-08491

    Court No.19lst District Court

    Style:    MICHAEL SCOTT
    vs.


    AMAZON,           ct a1


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           Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                           Page 77 of 98 PageID 77
      °
           UNITEDSTATES
    4:.    POSTAL SERVICE

June 30, 2020


Dear MAIL MAIL:


The       follovjvjng is in      response to your request            for proof of delivery      on your item with the tracking number:
9214       89M       0661 5400 0152 0657 48.


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Status:                                                                Delivered to Agent for Final Delivery
Status Date             /   Time:        -


                                                                      June 29, 2020, 2:23         pm
Location‘:                                                    I
                                                                       DALLAS, Tx 75234
Postal Product:                                                        First—Class Mail®

Extra Services:                                                       Certiﬁed MaiITM
                                                                       Return Receipt Electronic
Recipierjt           Name:                                            AMAZON KYDC FLEX
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                            Signature of Recipient:                    KC! (AVID      W
                                (Authorized Agent)                     (p,      wuw     I
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                              Address of Recipient:
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                                                          AMAZON KYDC FLEX                             .




                                                          BY AND THROUGH THEIR MANAGER/DISTRIBUTION CENTER
                                                          12401 N Stemmons Fwy Ste 100
                                                          Farmers Branch, TX 75234-5822
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                                                                                                                 FELICIA PITRE
Case 3:20-cv-01909-C Document 1 Filed 07/20/20                       Page 78 of 98 PageID 78                  DISTRICT CLERK
                                                                                                            DALLAS CO., TEXAS
                                                                                                          Jeremy Jones DEPUTY
                                   CAUSE NO. DC-20-08491

MICHAEL SCOTT,                                     §             IN THE DISTRICT COURT OF
                                                   §
     Plaintiff,                                    §
                                                   §
v.                                                 §                 191st JUDICIAL DISTRICT
                                                   §
                                                   §
AMAZON, AMAZON.COM,                                §
AMAZON, INC., AMAZON FLEX,                         §
AMAZON KYDC FLEX,                                  §
AMAZON.COM.KYDC, LLC,                              §
AMAZON.COM SERVICES, INC.,                         §
AMAZON.COM SERVICES, LLC,                          §
ELITE AIR, LLC, and TRAVISANO                      §
CONSTRUCTION, LLC,                                 §
                                                   §
     Defendants                                    §                DALLAS COUNTY, TEXAS



                      AMAZON’S ANSWER TO
                  PLAINTIFF’S ORIGINAL PETITION
         Defendants Amazon, Amazon.com, Amazon, Inc., Amazon Flex, Amazon KYDC

Flex1, Amazon.com.kydc, LLC, Amazon.com Services, Inc.2, and Amazon.com Services,

LLC3 (collectively, “Amazon”) file this Answer to Plaintiff’s Original Petition, and

respectfully would show the Court as follows:




1
  Amazon, Amazon.com, Amazon Flex, and Amazon KYDC Flex are not incorporated entities, but are
assumed names that have been or are currently being utilized by Amazon.com Services LLC, or by entities
that merged into Amazon.com Services, Inc. and converted into Amazon.com Services, LLC.
2
Amazon.com.kydc, LLC merged into Amazon.com Services, Inc. which recently converted to
Amazon.com Services, LLC.
3
 Of the variously identified Amazon entities, Amazon.com Services, LLC is the only active incorporated
entity




AMAZON’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION                                               PAGE 1
Case 3:20-cv-01909-C Document 1 Filed 07/20/20                  Page 79 of 98 PageID 79


                                             I.
                             GENERAL DENIAL
       Amazon denies each and every, all and singular, of the material allegations in the

Plaintiff’s live pleadings and demands strict proof thereof by a preponderance of the

credible evidence as is their right under TEXAS RULE      OF   CIVIL PROCEDURE 92 and the

Constitution of the State of Texas.


                                            II.
                                      DEFENSES
       Without admitting any of the allegations contained in Plaintiff’s Original Petition

and without admitting or acknowledging that Amazon bears any burden of proof as to

any of them, Amazon asserts the affirmative and additional defenses listed below.

Amazon intends to rely upon other defenses that become available or apparent during

pretrial proceedings and/or discovery in this action, and Amazon hereby reserves the

right to amend this Answer to assert any such further defenses:

       1.      Plaintiff fails to state a claim upon which relief can be granted.

       2.      Plaintiff was responsible for the incident made the basis of this suit, and

such negligent acts and/or omissions solely caused or were a proximate cause of both the

incident and the claimed damages, if any. Plaintiff’s damages as alleged should be

diminished by Plaintiff’s percentage of comparative fault, which may exceed the fault of

those against whom fault can be assessed. Plaintiff’s fault may be greater than 50% of

the fault of those against whom fault can be assessed, and Plaintiff may therefore be

barred from recovery pursuant to Section 33.001 of the Texas Civil Practices and

Remedies Code.




AMAZON’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION                                    PAGE 2
Case 3:20-cv-01909-C Document 1 Filed 07/20/20                 Page 80 of 98 PageID 80

       3.      No act or omission on the part of Amazon either caused or contributed to

whatever injuries or damages Plaintiff may have sustained.

       4.      Plaintiff’s injuries or damages, if any, were caused in whole or in part by

the acts or omissions of other persons over whom Amazon had no supervision or control,

including but not limited to Plaintiff’s employer Garland Heat & Air, Elite Air, LLC, and

Travisano Construction, LLC, those acts or omissions being the sole proximate cause or

an intervening or superseding cause of any injuries or damages Plaintiff allegedly

sustained.

       5.      Plaintiff’s alleged loss, damage, injury, harm, or expense may have been

caused in whole or in part by Plaintiff’s failure to exercise reasonable care and to mitigate

damages.

       6.      Plaintiff’s claims are barred, in whole or in part, because Amazon did not

owe any legal duty to Plaintiff, or if Amazon owed any such legal duty, Amazon did not

breach that duty.

       7.      The alleged incident and Plaintiff’s alleged damages, all of which are

denied, resulted from independent, unforeseeable, intervening, and/or superseding causes.

       8.      Plaintiff’s claims are barred, in whole or in part, by Chapter 95 of the

Texas Civil Practice and Remedies Code, because Plaintiff was a contractor,

subcontractor, or employee of a contractor or subcontractor, Plaintiff was performing

construction, repairs, renovations, or modifications to an improvement to real property at

the time of the incident, Amazon did not exercise or retain control over the manner in

which the work was performed, and Amazon did not have actual knowledge of the

alleged danger or condition and/or did not fail to adequately warn of such danger or

condition.




AMAZON’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION                                      PAGE 3
Case 3:20-cv-01909-C Document 1 Filed 07/20/20                 Page 81 of 98 PageID 81

        9.     Amazon asserts that this action is subject to the proportionate

responsibility provisions of Chapter 33 of the Texas Civil Practice and Remedies Code,

including (without limitation) the requirement of Section 33.003 that the trier of fact

determine the relative responsibility of Plaintiff, each Defendant, any settling person, and

any responsible third-parties that may be designated in the suit.

        10.    Amazon alleges its right to all prohibitions and limitations allowed by law

concerning any damages awarded against them, all of which are denied, including

without limitation for exemplary damages, as provided by Chapter 41 of the Texas Civil

Practice and Remedies Code.

        11.    Amazon requests all credit and/or offset rights at law by virtue of any

settlement entered into, by, or with any party or non-party in connection with or relating

to any matter pertaining to the claim or claims asserted in Plaintiff’s live pleading.

        12.    Further, Amazon invokes all rights under law, including but not limited to,

the rights set forth in Chapter 32 and Chapter 33 of the Texas Civil Practice and

Remedies Code.

        13.    Amazon asserts that pre-judgment interest, if any, as requested in

Plaintiff’s pleadings, is limited in accordance with § 304.104 et seq. of the Texas Finance

Code.


                                   III.
                            SPECIAL EXCEPTION
        Amazon excepts to Plaintiff’s negligence per se allegation. On page 7 of

Plaintiff’s Original Petition and Request for Disclosures, Plaintiff alleges that, “Each of

the above acts or omissions, singularly or in combination with each other, constituted




AMAZON’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION                                         PAGE 4
Case 3:20-cv-01909-C Document 1 Filed 07/20/20                Page 82 of 98 PageID 82

negligence, and negligence per se ….” However, Plaintiff has failed to identify any

specific statutory provision on which Plaintiff’s negligence per se allegation is based.

       In Texas, an “unexcused violation of a penal statute constitutes negligence as a

matter of law if such statute was designed to prevent injuries to a class of persons to

which the injured party belongs” and the statute is one for which “it is appropriate to

impose tort liability for violations.” See Murray v. O & A Express, Inc., 639 S.W. 2d 633,

636 (Tex. 1982); Perry v. S.N., 973 S.W. 2d 301, 305 (Tex. 1998).

       However, “a party relying upon a statutory violation should plead this reliance if

he is to recover on that basis.” See Murray, 639 S.W. 2d at 636.

       Because Plaintiff has failed to identify the statutory provision or provisions on

which he relies as basis for his negligence per se allegation, Plaintiff’s pleadings are

defective.


                                           IV.
                                      PRAYER
       WHEREFORE, Amazon prays that upon the final trial hereof Plaintiff takes

nothing against Amazon.       Further, Amazon asks the Court to enter Judgment that

Plaintiff takes nothing, dismissing Plaintiff’s suit with prejudice, assessing costs against

Plaintiff, and awarding Amazon all other relief to which it is entitled. Further, Amazon

prays as alleged hereinabove that, in the unlikely event that there is any recovery by

Plaintiff against them herein, which is denied, Amazon be allowed full benefit of all laws

of Texas limiting damages as well any prohibitions and/or limitations allowed under the

Texas Constitution and/or United States Constitution.




AMAZON’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION                                      PAGE 5
Case 3:20-cv-01909-C Document 1 Filed 07/20/20                Page 83 of 98 PageID 83

       Amazon further seeks entry of an Order that all costs attributed to Plaintiff’s suit

be assessed against Plaintiff, and that Amazon be granted all further relief to which they

may be justly entitled at law and in equity.

                                               Respectfully Submitted,

                                               THE BASSETT FIRM

                                               /s/ Robert L. McGee, Jr.

                                               MIKE H. BASSETT
                                               SBN: 01890500
                                               ROBERT L. MCGEE, JR.
                                               SBN: 13620720
                                               Two Turtle Creek Village
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                                               (214) 219-9900 Telephone
                                               (214) 219-9456 Facsimile
                                               efile@thebassettfirm.com

                                               ATTORNEY FOR AMAZON




AMAZON’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION                                    PAGE 6
Case 3:20-cv-01909-C Document 1 Filed 07/20/20              Page 84 of 98 PageID 84


                     CERTIFICATE OF SERVICE
       I certify that a true copy of this document was forwarded to the following counsel

of record on this 14th day of July, 2020, pursuant to the Texas Rules of Civil Procedure

and the Federal Rules of Civil Procedure:

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attorney@accidentlawyer.legal

                                            /s/ Robert L. McGee, Jr.

                                            MIKE H. BASSETT
                                            ROBERT L. MCGEE, JR.




AMAZON’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION                                  PAGE 7
           Case 3:20-cv-01909-C Document 1 Filed 07/20/20                 Page 85 of 98 PageID 85

Jennifer Graig

From:                           Elizabeth Romero
Sent:                           Tuesday, July 14, 2020 3:14 PM
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Case Number                        DC-20-08491
Case Style                         MICHAEL SCOTT vs. AMAZON, et al
Date/Time Submitted                7/14/2020 2:26 PM CST
Filing Type                        Answer/Response
Filing Description                 Amazon's Answer to Plaintiff's Original Petition
Filed By                           Jennifer Graig
                                   MICHAEL SCOTT:

                                   Wm. Randell Johnson (wrjlaw@aol.com)

                                   Stewart Donavan Matthews (Productslawyer@aol.com)
Service Contacts



                                   Other Service Contacts not associated with a party on the case:


                                                         1
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                          The Firm (efile@thebassettfirm.com)

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      Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                                           Page 87 of 98 PageID 87                     DISTRICT CLERK
                                                                                                                                                                       DALLAS    CO.,TEXAS
                                                                                                                                                                    Temieka Davis   DEPUTY


                                                       CAUSE NO.                                          DC-20-08491

MICHAEL SCOTT                                                                                                                   IN   THE DISTRICT COURT

VS.                                                                                                                             191“    JUDICIAL DISTRICT

AMAZON,
AMAZON.COM,
AMAZON, INC.,
AMAZON FLEX,                                                              Omcmomomcmomomcmomomomcmomom




AMAZON KYDC FLEX,
AMAZON.COM.KYDC, LLC,
AMAZON.COM SERVICES, INC,
AMAZON.COM SERVICES, LLC,
ELITE AIR, LLC, and
TRAVISANO CONSTRUCTION, LLC                                                                                                    DALLAS COUNTY, TEXAS

                        TRAVISANO CONSTRUCTION, LLC’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF THE COURT:

           Travisano Construction, LLC, one of the Defendants in the above-styled and numbered


cause (“Defendant”), ﬁles                  its   Original      Answer                                    t0 Plaintiff’s Original Petition,       and would show

the Court, as follows:


                                                                                                         I.




            1.01       Defendant denies each and every,                                                          all   and singular, the material allegations

contained in Plaintiff’ s Petition and                   demand       strict                                  proof thereof.


                                                                                             II.




                                                     AFFIRMATIVE DEFENSES

           2.01        For further answer, as same                     may be                                    necessary,    by way 0f afﬁrmative defense,

Defendant would show that on the occasion in question,                                                                    Plaintiff’s   own   intentional, careless


and/or reckless acts or omissions resulted in the injuries and damages about which Plaintiff


complains.




TRAVISANO CONSTRUCTION, LLC’S ORIGINAL ANSWER                                                                                                            Page   1   of 5
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     Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                  Page 88 of 98 PageID 88



           2.02        For further answer, as same                     may be          necessary,     by way 0f afﬁrmative defense,

Defendant would show that the Incident made the basis of                                          this lawsuit (the “Incident”)           was

caused by the negligence of a third party 0r third parties over                                      whom    Defendant had no control,

including but not limited t0 Plaintiff’s employer Garland Heat                                           &   Air, Elite Air,    LLC, and

Amazon.Com             Services,       LLC      and/or the other            named Amazon Defendants, and                said negligence


was a proximate cause                or, in the alternative,            was      the sole proximate cause 0f Plaintiffs alleged


damages.


           2.03        For further answer, as same                     may be          necessary,     by way 0f afﬁrmative defense,

Defendant asserts the defenses as                     set forth in         Chapter 32.001,        et seq.,   and 33.001,    et seq.,    0f the


Texas Civil Practices               &    Remedies Code, which may bar any recovery, 0r                               in the alternative,


reduce the amount 0f recovery by                       Plaintiff.     Defendant would show that the Incident in question


and the damages alleged by the                       Plaintiff     were proximately caused and/or solely caused by the

fault or negligence            of Plaintiff and/or third party or                      parties.   Defendant would show that in the


event     it   is   found     liable to Plaintiff,           any such           liability    being expressly denied, Defendant              is



entitled to a reduction for the negligence, liability, fault or other                                 conduct Which    is   attributable t0


Plaintiff and/or         any other party 0r           third-party.


           2.04        For further answer, as same                     may be          necessary,     by way 0f afﬁrmative defense,

Defendant would show that under the circumstances                                     it   owed no   legal duty to Plaintiff.


           2.05        For further answer, as same                     may be          necessary,     by way 0f afﬁrmative defense,

Defendant would show that in the event                             it is    found      liable to Plaintiff,    any such     liability   being


expressly denied, Defendant invokes Chapter 32 of the Texas Civil Practice                                        & Remedies Code t0
provide a right of action to recover payment from other co-defendants deemed liable Via


contribution and/or indemnity.                     With respect            to   any claim for contribution ﬁled by any other



TRAVISANO CONSTRUCTION, LLC’S ORIGINAL ANSWER                                                                                    Page 2 of 5
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      Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                               Page 89 of 98 PageID 89



party,    Defendant asserts that such contribution claims are barred as Defendant has no                                     liability to


Plaintiff.



           2.06        For further answer, as same                     may be         necessary,   by way of afﬁrmative defense,

Defendant asserts the defense 0f Section 41.0105 of the Texas Civil Practice                                        &   Remedies Code

limiting the recovery of medical and/or healthcare expenses t0 the                                        amount        actually paid 0r


incurred      by or 0n behalf of Plaintiff, and                   further similarly limiting the evidence presented t0                 any

trier   of fact to the amount actually paid or incurred by or on behalf of Plaintiff.


           2.07        For further answer, as same                     may be         necessary,   by way 0f afﬁrmative defense,

Defendant asserts that pursuant                    t0 Section 18.091            of the Texas Civil Practice       & Remedies      Code,

Plaintiff’s      recovery for lost wages 0r lost earning capacity                           is   limited to net loss after reduction


for   income tax payments or unpaid tax                       liability    pursuant t0 any federal income tax law.


           2.08        For further answer, as same                     may be         necessary,   by way of afﬁrmative defense,

Defendant would show that                     Plaintiff’s claims are barred, in              whole 0r    in part,   by Chapter 95 0f

the Texas Civil Practice               & Remedies           Code, because Plaintiff was a contractor, subcontractor, 0r


employee 0f a contractor or subcontractor,                                 Plaintiff     was performing      construction, repairs,


renovations, or modiﬁcations to an improvement to real property at the time 0f the Incident,


Defendant did not exercise 0r retain control over the manner in Which the work was performed,


and Defendant did not have actual knowledge of the alleged danger or condition and/or did not

fail t0   adequately warn of such danger 0r condition.


           2.09        For further answer, as same                     may be         necessary,   by way 0f afﬁrmative defense,

Defendant would show that the Incident and Plaintiffs alleged damages,                                     all   0f Which are denied,


resulted from independent, unforeseeable, intervening, and/or superseding causes.




TRAVISANO CONSTRUCTION, LLC’S ORIGINAL ANSWER                                                                                 Page   3 Of 5
T:Q30\1\1358\70712-Scott V Travisano\Pleadings\TraVisan0\TraVisan0's Org Answer.doc
     Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                                 Page 90 of 98 PageID 90



                                                                          III.



           Therefore, Defendant respectﬁllly requests that Plaintiff take nothing from Defendant                                          by

way of his        causes of action, that Defendant recover                             its   court costs, and that     it   be granted such

other and further relief t0 which                  it   may be justly        entitled.


                                                                                      Respectfully submitted,


                                                                                      MATTHEWS,          SHIELS, KNOTT,
                                                                                      EDEN, DAVIS        & BEANLAND, L. L.P.

                                                                                      By;     WA W
                                                                                               Daniel A. Knott
                                                                                               State   Bar N0.   1   1622700

                                                                                      8131   LBJ Freeway,    Suite     700
                                                                                      Dallas, Texas7525 1
                                                                                      972-234-3400
                                                                                      972-234-1750 (facsimile)
                                                                                      Email: dknott@mssattornevs.com


                                                                                      ATTORNEY FOR DEFENDANT
                                                                                      TRAVISANO CONSTRUCTION, LLC




TRAVISANO CONSTRUCTION, LLC’S ORIGINAL ANSWER                                                                                     Page 4 of 5
T:Q30\1\1358\70712-Scott V Travisano\Pleadings\TraVisan0\TraVisan0's Org Answer.doc
     Case 3:20-cv-01909-C Document 1 Filed 07/20/20                                              Page 91 of 98 PageID 91



                                                    CERTIFICATE OF SERVICE

           I   certify that a true    and correct copy 0f the foregoing has been served on all counsel of
record, pursuant to            Texas Rules 0f Civil Procedure 21 and 21(a), and as set forth below, 0n this
15th   day of July, 2020.

Wm.     Randell Johnson                                                                                       Electronic Service:
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P.O.    Box 260080
Plano, Texas 75026

Stewart D. Matthews                                                                                           Electronic Service:
Attorney       at   Law                                                                           attornev@ accidentlawverlegal
1905    W. Ennis Avenue,               Suite 506
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Mike H.        Bassett                                                                                        Electronic Service:
Robert L. McGee,             Jr.                                                                         eﬁle@thebassettﬁrm.com
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Dallas, Texas 752 1 9



                                                                                        MAW
                                                                                      Daniel A. Kdnott




TRAVISANO CONSTRUCTION, LLC’S ORIGINAL ANSWER                                                                          Page 5 of 5
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Case 3:20-cv-01909-C Document 1 Filed 07/20/20   Page 92 of 98 PageID 92




                  EXHIBIT 4




NOTICE OF REMOVAL OF CIVIL ACTION                                PAGE 11

143521272.2
     Case 3:20-cv-01909-C Document 1 Filed 07/20/20                      Page 93 of 98 PageID 93



                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                                Dallas Division


Michael Scott
Plaintiff
v.
                                                               Civil Action No.
Amazon.com Services LLC, et al.
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Amazon, Amazon.com, Amazon, Inc., Amazon Flex, Amazon KYDC Flex, Amazon.kydc, LLC,
Amazon.com Services, Inc., and Amazon.com Services, LLC


provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.
Amazon.com Sales, Inc.




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.
Michael Scott, Law Office of Wm. Randell Johnson, Stewart D. Matthews, Amazon.com
Services, LLC, Elite Air, LLC, Travisano Construction, LLC
               Case 3:20-cv-01909-C Document 1 Filed 07/20/20                        Page 94 of 98 PageID 94



                                                              Date:
                                                                                   07/17/2020
                                                              Signature:
                                                                                   Mike H. Bassett
                                                              Print Name:          Mike H. Bassett
                                                              Bar Number:
                                                                                   01890500
                                                              Address:
                                                                                   3838 Oak Lawn Ave, Suite 1300
                                                              City, State, Zip:
                                                                                   Dallas, Texas 75219
                                                              Telephone:
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                                                              E-Mail:
                                                                                   efile@thebassettfirm.com




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Case 3:20-cv-01909-C Document 1 Filed 07/20/20   Page 95 of 98 PageID 95




                  EXHIBIT 5




NOTICE OF REMOVAL OF CIVIL ACTION                                 PAGE 1

143521272.2
Case 3:20-cv-01909-C Document 1 Filed 07/20/20   Page 96 of 98 PageID 96
Case 3:20-cv-01909-C Document 1 Filed 07/20/20   Page 97 of 98 PageID 97




                  EXHIBIT 6




NOTICE OF REMOVAL OF CIVIL ACTION                                 PAGE 2

143521272.2
     Case 3:20-cv-01909-C Document 1 Filed 07/20/20                  Page 98 of 98 PageID 98



                                    CAUSE NO. DC-20-08491

MICHAEL SCOTT,                                 §           IN THE DISTRICT COURT OF
                                               §
     Plaintiff,                                §
                                               §
v.                                             §                  191st JUDICIAL DISTRICT
                                               §
                                               §
AMAZON, AMAZON.COM,                            §
AMAZON, INC., AMAZON FLEX,                     §
AMAZON KYDC FLEX,                              §
AMAZON.COM.KYDC, LLC,                          §
AMAZON.COM SERVICES, INC.,                     §
AMAZON.COM SERVICES, LLC,                      §
ELITE AIR, LLC, and TRAVISANO                  §
CONSTRUCTION, LLC,                             §
                                               §
     Defendants                                §              DALLAS COUNTY, TEXAS

                     CONSENT TO REMOVAL TO FEDERAL COURT

         Pursuant to 28 U.S.C. § 1446(b)(2)(A), Defendant Elite Air, LLC hereby consents to

removal of the above-styled action to the United States District Court for the Northern District of

Texas, Dallas Division, on the basis of diversity jurisdiction.

                                                              Respectfully submitted,

                                                              Elite Air, LLC

                                                              By its Attorney,

                                                              /s/ Jon Hill
                                                              Name: Jesse Buttery and Jon Hill
                                                              SBN: 24025275 and 00789373
                                                              Firm: Silberman Law Firm
                                                              Address: 2060 North Loop West,
                                                              Suite 220
                                                              Tel.: (713) 255-4422
                                                              Fax: (713) 255-4426
                                                              Email: jhill@silblawfirm.com

                                                              DATED: _07/17/2020___________



CONSENT TO REMOVAL TO FEDERAL COURT                                                         PAGE 1
